Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 1 of 84




                         EXHIBIT 3
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 2 of 84




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

      EVELYN CINTRON,               :
                          Plaintiff :
                                    :
                    v.              :
      CITY OF PHILADELPHIA; THE     :
      PHILADELPHIA POLICE ATHLETIC :
      LEAGUE and JOSEPH SULLIVAN,   :
                          Defendants:              NO. 19-4078

                                         -   -   -
                             Friday, November 15, 2024
                                         -   -   -
                         Oral deposition of WILLIAM RIGHTER,
      held in the offices of Magna Legal Services, 1635
      Market Street, 8th Floor, Philadelphia, Pennsylvania
      19102, at 8:50 a.m., on the above date, before
      GIANNA IACONELLI, a Court Reporter and Notary Public
      of the Commonwealth of Pennsylvania.




                            MAGNA LEGAL SERVICES
                                866-624-6221
                              www.MagnaLS.com
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 3 of 84


                                                                         Page 2
 1    APPEARANCES:
                 MARILYN A. RIGMAIDEN-DELEON LAW OFFICES
 2               BY: KEITH MCKINLEY, ESQUIRE
                 BY: JAMES DELEON, ESQUIRE
 3               5414 Greene Street - P.O. Box 18853
                 Philadelphia, PA 19119
 4               215.356.7425
                 Counsel for Plaintiff
 5
                    O'HAGAN MEYER
 6                  BY: KEVIN L. GOLDEN, ESQUIRE
                    1717 Arch Street - Suite 3910
 7                  Philadelphia, PA 19103
                    215.461.3300
 8                  Counsel for Defendant, Police Athletic League
 9
10                  CITY OF PHILADELPHIA LAW DEPARTMENT
                    BY: SHARON ULAK, ESQUIRE
11                  BY: EMILY KAUFMAN, PARALEGAL
                    1515 Arch Street - 17th Floor
12                  Philadelphia, PA 19102
                    215.683.5000
13                  Counsel for Defendant, City of Philadelphia
14
15
16
17
18
19
20
21
22
23
24
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 4 of 84


                                                                              Page 3
 1                               I N D E X
 2    TESTIMONY OF:                                                    PAGE NO.
      WILLIAM RIGHTER
 3
 4          BY:    MR. MCKINLEY                                           5
 5
 6                                -   -    -
 7                            E X H I B I T S
 8                                -   -    -
 9    NUMBER                   DESCRIPTION                  PAGE NO.
10    Exhibit A           Notice of Deposition                    33
11    Exhibit B           Excerpt of Interview                    36
12    Exhibit C               Certification                       38
13    Exhibit D               Directive 8.7                       41
14    Exhibit E             Anonymous Complaint                   53
15
16
17
18
19
20
21
22
23
24
Case 2:19-cv-04078-RBS   Document 90-3       Filed 04/07/25   Page 5 of 84


                                                                             Page 4
 1                                -      -    -
 2                       DEPOSITION SUPPORT INDEX
 3                                -      -    -
 4    Direction to Witness Not to Answer
 5    Page    Line
 6    None
 7
 8    Request for Production of Documents
 9    Page    Line
10    16      5
11    29      14
12    45      14
13
14    Stipulations
15    Page    Line
16    5       1
17
18    Question Marked
19    Page    Line
20    None
21
22
23
24
Case 2:19-cv-04078-RBS   Document 90-3       Filed 04/07/25   Page 6 of 84


                                                                             Page 5
 1                       (It is hereby stipulated and agreed
 2    by and among counsel for the respective parties that
 3    reading, signing, sealing, certification, and filing
 4    are waived; and that all objections, except as to
 5    the form of the question, are reserved until the
 6    time of trial.)
 7                                -      -    -
 8                       WILLIAM RIGHTER, after having been
 9    first duly sworn, was examined and testified as
10    follows:
11                                 - - -
12                              EXAMINATION
13                                -      -    -
14                 MR. DELEON:     Mr. McKinley is going to
15          conduct the deposition.
16                 MR. MCKINLEY:         Are you going to introduce
17          yourself for the record?
18                 MR. DELEON:     Oh, I'm sorry.             James M.
19          DeLeon, representing the plaintiff.
20    BY MR. MCKINLEY:
21          Q.     What's your name, sir?
22          A.     Lieutenant William Righter.
23          Q.     Lieutenant.        Okay.
24                       William?
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 7 of 84


                                                                         Page 6
 1          A.     Righter, R-I-G-H-T-E-R.
 2          Q.     Throughout the deposition, I could call
 3    you lieutenant?
 4          A.     Certainly.     Yes.    If you would like.
 5          Q.     That would be easier for me.
 6                         Good morning, Lieutenant.
 7          A.     Good morning.
 8          Q.     For the record, just state your full name?
 9          A.     Lieutenant William Righter, R-I-G-H-T-E-R.
10          Q.     What is your current occupation?
11          A.     I am currently a police lieutenant
12    assigned to the commissioner's office.
13          Q.     How long have you been in that assignment?
14          A.     I've been in that assignment approximately
15    two years.
16          Q.     Two years.
17                       And how would you describe your
18    duties in that office?
19          A.     Yeah.    So I'm assigned to the office of
20    legal affairs.       We respond to subpoenas, legal
21    process, and various special projects as assigned by
22    the police commissioner.
23          Q.     What would be defined as a special
24    project?
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 8 of 84


                                                                         Page 7
 1          A.     Whatever the police commissioner needs.
 2          Q.     Is the PAL program a special project?
 3          A.     Not per se.
 4          Q.     Not per se.
 5                         And prior to being in the police
 6    commissioner office, where did you work?
 7          A.     I was commanding officer for the criminal
 8    records unit.
 9          Q.     And where was that located?
10          A.     Police head quarters, 400 North Broad
11    Street.
12          Q.     And what were your duties in that
13    position?
14          A.     I oversaw the criminal records unit staff,
15    which is approximately 80 individuals.
16          Q.     And by oversaw, what did that entail?
17          A.     The coordination, planning, and operation
18    of the criminal records unit.
19          Q.     And you were basically supervisor?
20          A.     I was commanding officer.
21          Q.     Okay.    And prior to that, where did you
22    work?
23          A.     I was a sergeant in the research and
24    planning unit.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 9 of 84


                                                                         Page 8
 1          Q.     Okay.    How long did you work there?
 2          A.     Five years.
 3          Q.     Five year.
 4                         And what were the duties there?
 5          A.     I was policy analyst.         I would draft
 6    agency policy, research best practices and oversee a
 7    staff of four policy writers.
 8          Q.     What's your educational background?
 9          A.     I have a master's in law and public
10    policy.
11          Q.     Is a commanding officer, is that -- by
12    "commanding officer," are you distinguishing that
13    from being a supervisor?           Or is it the same thing?
14    I'm trying to determine.           Because I asked you if you
15    were in a supervisor capacity, and you said you were
16    commanding officer.
17          A.     Correct.     So there's supervisory
18    responsibilities, but overall, you're responsible
19    for the overall operation of a business unit.                  In
20    this case, criminal records unit.
21          Q.     Okay.    And you've given depositions
22    before?
23          A.     I have.
24          Q.     Okay.    Many, would you say?
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 10 of 84


                                                                          Page 9
  1          A.    It's been quite some time.
  2          Q.    When was the last time you gave one?
  3          A.    Over five years ago.
  4          Q.    Five years ago.       Okay.
  5          A.    Mhm.
  6          Q.    What is your understanding of why you are
  7    here today?
  8          A.    As a representative of the police
  9    department.
10           Q.    Okay.    Is that the extent of your
11     knowledge of why you're here today, representing the
12     police department?
13           A.    That is the extent.         Mhm.
14           Q.    Did you review any documents or speak to
15     anyone in preparation for this deposition?
16           A.    Yes.
17           Q.    Other than your attorney?
18           A.    Correct.     I spoke to my attorney, as well
19     as my supervisor to let him know I was coming here
20     and reviewed the complaint.
21           Q.    Who designated you to come here today?
22           A.    Deputy Commissioner Francis Healy.
23           Q.    Francis?
24           A.    Healy.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 11 of 84


                                                                      Page 10
  1          Q.    And what documents did you review in
  2    preparation for this deposition?
  3          A.    I reviewed the civil complaint, as well
  4    as -- well, that's about it.
  5          Q.    Do you know the plaintiff in this case?
  6          A.    I do not.
  7          Q.    Do you know the plaintiff, Evelyn Cintron?
  8          A.    I do not.
  9          Q.    Have you met her?
10           A.    I have not.
11           Q.    So other than what you read in the
12     complaint, is that -- are you saying that all you
13     know about this matter is what you read in the
14     complaint?
15           A.    That is correct.
16           Q.    Okay.    Now, let me ask you this.
17                        In your current position, do you
18     write policy?
19           A.    Not directly, no.
20           Q.    Okay.
21           A.    Let me --
22           Q.    I'm sorry.      Go ahead.
23           A.    Yeah.    Let me qualify that.
24                        So, again, as I said, special
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 12 of 84


                                                                      Page 11
  1    project, so if the police commissioner has a special
  2    policy or particular policy matter he wants
  3    addressed by his staff, then I would be involved in
  4    that, but that's not my routine function.
  5          Q.    Now, you read a lot -- you read policy?
  6          A.    I do.
  7          Q.    And are you familiar with City policies,
  8    in terms of disciplinary codes, directives governing
  9    police officers?
10           A.    In a general sense, yes.
11           Q.    Okay.    And how familiar are you with the
12     PAL program, P-A-L, program?
13           A.    I couldn't quantify.
14           Q.    Okay.    Give me a minute.
15           A.    Mhm.
16           Q.    So who administers -- what's the
17     relationship between to Police Athletic League and
18     the Philadelphia Police Department?
19           A.    When you say, "relationship," what do you
20     mean?
21           Q.    Well, how do they interact?
22           A.    We have police officers assigned to our
23     PAL, which puts police officers in PAL centers
24     throughout the City.
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 13 of 84


                                                                       Page 12
  1          Q.    What is the PAL unit?
  2          A.    It is a business unit within the
  3    Philadelphia Police Department.
  4          Q.    Okay.    So it's the business unit within
  5    the Philadelphia Police Department.
  6                       So it is supervised, managed, and
  7    controlled by the Philadelphia Police Department?
  8          A.    The PAL unit or PAL --
  9          Q.    So the PAL unit?
10           A.    The PAL unit, that is correct.
11           Q.    Who is responsible for that unit?
12           A.    The commanding officer.
13           Q.    Who is that?
14           A.    It's a captain at this point.              Marc
15     Metellus.
16           Q.    Marc?
17           A.    Metellus.
18           Q.    And where would his office be?
19           A.    I don't know.         PAL headquarters.
20           Q.    So have you ever talked to Marc Metellus?
21           A.    I have not.
22           Q.    What exactly is his title with the PAL
23     unit?
24           A.    Commanding officer.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 14 of 84


                                                                      Page 13
  1          Q.    Commanding officer.
  2                       Do you know what his duties are?
  3          A.    I do not.
  4          Q.    So if anyone were to discipline an officer
  5    that's assigned to the PAL unit, it would be Marc
  6    Metellus.
  7                       Would that be fair to say?
  8          A.    No.
  9          Q.    Okay.    Who would do that?
10           A.    So it depends on to nature of discipline.
11                        When you say, "discipline," what are
12     you referring to?
13           Q.    So insubordination, for example, if there
14     was -- who would handle that?
15           A.    So a commanding officer could request
16     disciplinary charges by the process of filing a
17     memorandum to what's called the PBI, Police Board of
18     Inquiry.
19           Q.    So how many police officers are assigned
20     to the PAL unit?
21           A.    That, I don't know.
22           Q.    Who is the direct supervisor commanding
23     officer over the police officers assigned to the PAL
24     unit?
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 15 of 84


                                                                      Page 14
  1           A.   Marc Metellus.
  2           Q.   Marc Metellus.
  3                        And are the PAL units distributed
  4    throughout the City, different locations?
  5           A.   I understand the police officers are
  6    assigned to different PAL centers throughout the
  7    City.
  8           Q.   How many are there?
  9           A.   I don't know.
10            Q.   You don't know a lot of things about the
11     PAL.    So you don't know much about the PAL unit.
12                        You don't know how many PAL centers
13     there are?
14            A.   Correct.
15            Q.   Okay.    But you've been designated as the
16     corporate designee on this deposition involving an
17     officer that was assigned to the PAL unit, correct?
18            A.   Correct.
19                 MS. ULAK:     At this point, I'm just going
20            to put on the record that this is a 30(b)(6)
21            notice.    And I made it very clear that I was
22            producing somebody to speak generally about
23            policies or procedures.        You have not designed
24            or requested the commanding officer of the PAL
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 16 of 84


                                                                      Page 15
  1          unit.
  2                MR. DELEON:      We didn't need to.          You could
  3          do what you did.       We didn't ask for a specific
  4          and you're not under any type of duty to give a
  5          specific.
  6                MS. ULAK:     Okay.
  7    BY MR. MCKINLEY:
  8          Q.    So what are the duties of the police
  9    officers assigned to the PAL unit?             Do you know?
10           A.    I do not.
11           Q.    Okay.    And are they governed under a
12     specific code of conduct?         Are they governed under
13     the same disciplinary code as any other police
14     officer?
15           A.    That is correct.
16           Q.    Okay.    Have you ever seen any policies,
17     procedures, and handbooks concerning officers
18     assigned to the PAL units, anything specifically
19     about the officers that --
20           A.    I'm aware of the existence of that, but I
21     have not seen it or reviewed it.
22           Q.    So there exists a policy, procedure manual
23     for officers assigned to the PAL unit?
24           A.    There exist a policy and procedure manual
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 17 of 84


                                                                       Page 16
  1    today as we speak for the officers assigned to PAL
  2    unit.
  3          Q.     You say, "today."
  4          A.     Mhm.
  5          Q.     Is that something you could produce for
  6    me?   I would ask that you produce it.
  7                 MS. ULAK:    Yeah.      The City can produce
  8          that.
  9    BY MR. MCKINLEY:
10           Q.    Okay.    And you say it exists today.
11           A.     Mhm.
12           Q.    Is it something that didn't exist prior to
13     today?     You specifically said, "today."
14           A.    Right, right.         Yeah.   It exists under the
15     command of Marc Metellus.
16           Q.     Okay.
17           A.    I was unable to find any documents that
18     exist prior to Marc Metellus.
19           Q.    Okay.    And so when -- so when would Marc
20     Metellus command had began then so I can determine
21     --
22           A.     Approximately 2023.
23           Q.     '23?
24           A.    Mhm.     And that is an incredibly rough
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 18 of 84


                                                                        Page 17
  1    estimate.
  2          Q.    So it would be fair to say that prior to
  3    Marc Metellus's command in 2023, there did not exist
  4    a specific policy and procedure manual for officers
  5    assigned to the PAL unit?
  6          A.    No.    It would be fair to say I was unable
  7    to locate any document.
  8          Q.    Okay.    All right.      Prior to 2023?
  9          A.    Correct.
10           Q.    Now, other than this policy and procedures
11     manual, are there any other written documents that
12     you're aware of concerning the relationship between
13     the Philadelphia Police Department and the PAL
14     program, other than the -- let me be clear.                Let me
15     strike that.
16                        The policy and procedures manual that
17     we referred to that was written in 2023, that
18     concerns the command or supervision of Marc Metellus
19     over the police officers, right, assigned to the PAL
20     unit?
21           A.    That document, which I do not know
22     exactly -- you said it was authored in 2023.                 I
23     don't know that it was authored in 2023.
24           Q.    You said the first time that you were
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 19 of 84


                                                                      Page 18
  1    aware of a document like this in existence was under
  2    the Marc Metellus command?
  3          A.    That is correct.
  4          Q.    And that was 2023?
  5          A.    That is correct.
  6          Q.    Okay.    So I want to be clear.
  7          A.    Yes.
  8          Q.    You're not aware of any other document
  9    concerning the policies and procedures for the PAL
10     unit prior to 2020?
11           A.    Correct.
12           Q.    You're not aware of it?
13           A.    Correct.
14           Q.    And you haven't seen one?
15           A.    That is correct.
16           Q.    This particular policies and procedures
17     manual that you are aware of, my question is:                 Does
18     it just govern the command or the supervision of the
19     police officers assigned to the unit?
20           A.    It does, yes.
21           Q.    Okay.    Now, are there any manuals or
22     handbooks regarding the employee duties, the duties
23     of the officers assigned to the unit, like, anything
24     that would describe the job functions and duties and
Case 2:19-cv-04078-RBS    Document 90-3   Filed 04/07/25    Page 20 of 84


                                                                        Page 19
  1    responsibilities of officers that are assigned to
  2    the PAL unit?       Are you aware of any manuals or
  3    policies and procedures that exist?                 Like, you know
  4    your duties on your job.           I'm pretty sure you could
  5    find your particular duties somewhere written down
  6    in a handbook.
  7                        Would that be fair to say?
  8          A.     No.
  9          Q.     Do you have a job description?
10           A.    I do have a job description.
11           Q.    My question is:        If you have a job
12     description, is it written down?
13           A.     It is.
14           Q.     Where would you find it?
15           A.     Human resources.
16           Q.    Okay.     My question is:        Where would -- is
17     there a written job description describing what the
18     duties and functions are of the police officers
19     inside the PAL unit?
20           A.    So the answer to your question is two
21     parts.     First you're asking the duties of police
22     officers.
23           Q.    The police officers assigned to the PAL
24     unit.
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 21 of 84


                                                                       Page 20
  1          A.    Correct.     So there's a job description
  2    describing the duties and functions of a police
  3    officer.    Whether there is a job description that is
  4    unique to the police officers assigned to the PAL
  5    unit, that, I'm not aware of.
  6          Q.    Okay.    So are you saying you're not aware
  7    of whether it exists, or there isn't one?                 That's
  8    what I'm asking.
  9          A.    I'm not aware whether it exists.
10           Q.    Okay.    So if that job description existed,
11     where would I get it?
12           A.    In all likelihood, that would be the SOP
13     manual.
14           Q.    The SOP manual --
15           A.    The manual we're referring to.              The
16     policies and procedures drafted by Marc Metellus.
17           Q.    Okay.    Did you bring that with you today?
18           A.    I did not.
19           Q.    Now, you knew you were coming to --
20                 MS. ULAK:     (Indicating).
21                 MR. MCKINLEY:         Excuse me?
22                 MS. ULAK:     Well, go ahead.           Ask your
23           questions.
24     BY MR. MCKINLEY:
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 22 of 84


                                                                      Page 21
  1          Q.    You knew you were coming here regarding a
  2    complaint filed by a plaintiff that was filed
  3    against the PAL unit.
  4                        Are you aware what her claims are?
  5          A.    Correct.
  6          Q.    You didn't think it was be helpful to get
  7    the policy and procedure manual from Marc Metellus
  8    for this deposition?
  9                MS. ULAK:     Objection.       Argumentative.
10                 THE WITNESS:      I did not think the policies
11           and procedures that exist today would be
12           helpful to explain events that occurred during
13           the time period.
14     BY MR. MCKINLEY:
15           Q.    Fair enough.
16                        Did you talk to Mr. Metellus?
17           A.    I did not.
18           Q.    Do you know the duties of Ms. Cintron,
19     what her job description was and what her duties
20     were?
21           A.    My understanding is Ms. Cintron was a
22     lieutenant.       I understand the job duties and
23     descriptions of a lieutenant.
24           Q.    Right.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 23 of 84


                                                                      Page 22
  1          A.    I do not have an understanding of the job
  2    description or duties of a lieutenant specifically
  3    assigned to the PAL unit.
  4          Q.    What would be her job description as a
  5    lieutenant that you know of?          What would that be?
  6          A.    Oversee sergeants, oversee subordinate
  7    supervisors, sergeants or corporals, and ensure to
  8    carry out the mission of the police department in
  9    accordance with the rules, regulations, and
10     procedures.
11           Q.    Okay.    If she functioned in a supervisory
12     capacity, a commanding officer --
13           A.    Commanding officer is -- a supervisor a
14     subset of a commanding officer, yes.
15           Q.    Okay.    If Ms. Cintron, the plaintiff, was
16     assigned to the PAL unit as commanding officer, any
17     officers at the particular -- is she responsible for
18     just the police officers at the unit she's assigned
19     to at the PAL center she's assigned to?               Or does she
20     supervise any police officer that's assigned to a
21     PAL unit?     Is she a superior over any police officer
22     assigned to the PAL unit?
23           A.    She would be a superior over all police
24     officer personnel assigned to the PAL unit, yes.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 24 of 84


                                                                      Page 23
  1          Q.    Okay.    I got to ask again.           If I repeat
  2    it, I won't ask it.
  3                        So you have no idea of what her
  4    particular responsibilities were at -- if she's
  5    assigned to a PAL unit?
  6          A.    I do not, no.
  7          Q.    So let me ask you this.
  8                        If, as a lieutenant assigned to a PAL
  9    facility, would it be reasonable for her to inform
10     people if she had issues concerning the condition of
11     a facility?
12           A.    It would be.
13           Q.    Okay.    And if she thought there was a
14     safety risk, would that be appropriate for her to
15     point out to her superiors?
16           A.    It would be.
17           Q.    Okay.    So in addition to supervising the
18     police officers under her, she also has a duty to
19     the public.
20                        Wouldn't that be fair to say?
21           A.    That's a very broad statement.
22                        When you say, "a duty to the public,"
23     what do you mean by that?
24           Q.    Well, a police officer, obviously, is
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 25 of 84


                                                                      Page 24
  1    required to protect and serve.
  2          A.    Sure.
  3          Q.    That's a standing order, correct?
  4          A.    It's fair.
  5          Q.    Fair.    So if she felt -- to the citizen,
  6    she has a duty to protect and serve them, correct?
  7          A.    Her, specifically, or as her role as
  8    lieutenant?
  9          Q.    As a police officer.
10           A.    Yes.    That's correct.
11           Q.    Of course.
12           A.    Correct.
13           Q.    And that would be -- that would, you
14     know -- that would include if she thought a
15     particular facility was unsafe for the public?
16     Wouldn't that be something as a police lieutenant
17     she would address?
18           A.    I think that's accurate.
19           Q.    And who would she take that concern to?
20     Where would she take that as a lieutenant?
21           A.    To her immediate supervisor.
22           Q.    Do you know who her -- that would be
23     Mr. Metellus -- it wasn't the Mr. Metellus at that
24     time.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 26 of 84


                                                                      Page 25
  1                         Who was --
  2          A.     So at that time, that position reported to
  3    a deputy police commissioner.
  4          Q.     So do you know who that was?
  5          A.     I believe it was Deputy Sullivan and
  6    Deputy Patterson.
  7          Q.     And where were they housed?            Where were
  8    they stationed?       Or where was their office?
  9          A.     Police headquarters.
10           Q.     And at the time, the police Headquarters
11     was where?
12           A.     750 Race Street.
13           Q.     So by her reporting something like that to
14     the deputy police commissioner, and that would be
15     Sullivan or Patterson, is it fair to say they were
16     responsible for directly supervising her?
17           A.     That's correct.
18           Q.     Okay.    So they would be her supervisors
19     prior to Mr. Metellus, this deputy commissioner
20     Sullivan or Patterson?
21           A.     So that is --
22                  MS. ULAK:    No.     It's okay.       I think we
23           need to clarify for the record here a little
24           bit.    I think we're conflating people.
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 27 of 84


                                                                       Page 26
  1                Who do you think -- I'm just going to ask
  2          this question.
  3                Who are we understanding to be her
  4          supervisor?
  5                MR. MCKINLEY:         That's what I'm asking him.
  6                MS. ULAK:     Okay.      You're naming three
  7          different people.
  8                MR. MCKINLEY:         Well, I'm working off the
  9          information he gave me.          He can clarify.         I'm
10           the one asking -- see.          I know who was the
11           direct commanding officer in 2023.
12                 MS. ULAK:     Mhm.
13                 MR. MCKINLEY:         But this complaint centers
14           around dates prior to that.            I'm trying to
15           determine the supervisory structure at that
16           time.
17                 MS. ULAK:     Okay.      Go ahead.
18                 THE WITNESS:      Yeah.      That's exactly what I
19           was about to address.
20                 Let's be clear that every police
21           commissioner reserves the right to establish
22           their own priorities, to include their own
23           organizational chart, if you will.               Each police
24           commissioner can adjust where PAL falls in
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 28 of 84


                                                                      Page 27
  1          what's referred to as the chain of command at
  2          any given time.
  3                Thus, the police commissioner at that time
  4          could have very well made a different decision
  5          than the police commissioner today.              And,
  6          likewise, a police commissioner ten years ago
  7          could have made a different decision.
  8                At the time Lieutenant Cintron was in
  9          charge, it's my understanding she reported to
10           the deputy commissioner of control, which is
11           Deputy Commissioner Sullivan.
12     BY MR. MCKINLEY:
13           Q.    Okay.    Is he still with the police
14     department?
15           A.    He is not.
16           Q.    He retired?
17           A.    He is retired, to my understanding.
18           Q.    Do you know what year?
19           A.    I do not know.
20           Q.    Have you ever reviewed any of
21     Ms. Cintron's employment records?
22           A.    I have not, no.
23           Q.    Okay.    And you're aware that this was a
24     complaint filed by Ms. Cintron, right?
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 29 of 84


                                                                      Page 28
  1          A.    I'm aware of the civil complaint, yes.
  2          Q.    When did you first review the civil
  3    complaint?
  4          A.    Perhaps two days ago.
  5          Q.    Two days ago.
  6                       So the only thing you reviewed, if
  7    I'm correct, in preparation for this deposition, was
  8    the complaint?
  9          A.    I'm not sure how to answer that.
10                        What are you asking me?
11           Q.    So let's be clear.
12           A.    Right.
13           Q.    I thought you said you reviewed the
14     complaint.
15           A.    That's correct.
16           Q.    What else did you review, besides the
17     complaint?
18           A.    There were no other documents to review.
19     In preparation for this, I did search for documents
20     that existed during Lieutenant Cintron's tenure
21     there, which I was unable to find.
22           Q.    So her employment records don't exist?
23           A.    Her employment records do exist.              Your
24     question was did I review them.            I did not review
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 30 of 84


                                                                       Page 29
  1    them.
  2          Q.    Okay.    Let me be clear.          You said that you
  3    searched, and the only thing you found was the
  4    complaint?
  5          A.    I searched for governing documents over
  6    the PAL unit during the period concerning.                 So the
  7    policies that I'm referring to today that were
  8    written by Marc Metellus, I searched to determine
  9    whether there were any policies that existed in our
10     repository relevant to policies and procedures that
11     were in PAL during that particular unit -- excuse
12     me -- during that particular time period, and I was
13     unable to locate any of these.
14                 MR. MCKINLEY:         And so I'm clear for the
15           record, that current policy for Mr. Metellus
16           will be produced?
17                 MS. ULAK:     That is outside of the scope of
18           the 30(b)(6) deposition notice, but I will
19           produce it.
20                 MR. MCKINLEY:         It's pattern, policy, and
21           practice claim.       I think it's relevant.
22                 MS. ULAK:     It's outside of the scope of
23           the 30(b)(6) deposition notice, but I will
24           produce it.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 31 of 84


                                                                      Page 30
  1    BY MR. MCKINLEY:
  2          Q.    So let me ask you this.
  3                       There are employment records that
  4    would have Ms. Cintron's employment history that
  5    exists, correct?
  6          A.    That is correct.
  7          Q.    And those employment records would show
  8    her start -- you know, the trajectory of her career
  9    with the police department, right, from hire to
10     ending?
11           A.    That is correct.
12           Q.    And it will show her advancement history,
13     correct?
14           A.    That is correct.
15           Q.    And it would also show her disciplinary
16     record, correct?       If she had a disciplinary record,
17     it would show that, it would contain that, right?
18           A.    Those are two separate records.
19           Q.    Okay.    Fair enough.
20                        So do you know whether she was
21     disciplined as a lieutenant during her employment in
22     the PAL unit?      Do you know?
23           A.    I do not, no.
24           Q.    And you didn't seek to see whether she
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 32 of 84


                                                                      Page 31
  1    was?
  2           A.   I did not.
  3           Q.   Okay.    You could obtain -- if there is a
  4    disciplinary record for Ms. Cintron, you could
  5    produce that?       You can obtain it, correct?
  6           A.   That is correct.
  7                MS. ULAK:     Those records have already been
  8           produced in discovery.
  9    BY MR. MCKINLEY:
10            Q.   And her employment records, that's a
11     separate thing.
12                        Have you reviewed them?
13            A.   Define what you mean by "employment
14     records."
15            Q.   Well, you said the disciplinary records
16     are different.
17            A.   Mhm.
18            Q.   Employment records would be date of hire,
19     talk about her advancement.
20            A.   Sure.
21            Q.   Okay.    Did you seek to review the records
22     for her employment history?
23            A.   I did not.
24                 MS. ULAK:     And, again, that's outside of
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 33 of 84


                                                                      Page 32
  1          the scope of the 30(b)(6) deposition.
  2    BY MR. MCKINLEY:
  3          Q.    Have you reviewed the 30(b)(6) notice?
  4          A.    I have.
  5          Q.    Okay.    And what was your understanding of
  6    what it wanted you to do?         What was your -- what --
  7    did you comprehend this notice?
  8          A.    Yes.
  9          Q.    What was your understanding of what it
10     asked you to produce us?
11                 MS. ULAK:     I'm just going to put on the
12           record that you've handed my client, I believe,
13           a 30(b)(6) notice that -- directed to the
14           Police Athletic League.
15                 I also want to clarify for the record that
16           I believe the one was for the City of
17           Philadelphia head -- no.          Never mind.       Let me
18           just doublecheck this.         Okay.     Never mind.
19                 Go ahead.
20     BY MR. MCKINLEY:
21           Q.    So are you familiar with that, sir?
22           A.    I am.
23           Q.    Okay.    Let's go through the documents it
24     requested you to produce.
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 34 of 84


                                                                       Page 33
  1                COURT REPORTER:        Do you want this marked
  2          as Exhibit A?
  3                MR. MCKINLEY:         Yes, please.
  4                       (Exhibit A marked for
  5    identification.)
  6                MS. ULAK:     Actually, I would like to take
  7          a moment to review this.
  8                Thank you.
  9                       (Recess taken from 9:19 a.m. to 9:22
10     a.m.)
11                 MS. ULAK:     I want to put on the record
12           that the deposition notice marked as Exhibit A
13           has not been -- is not the one that was
14           produced to the City of Philadelphia.                This is
15           a different deposition notice.
16                 MR. DELEON:      What do you mean?
17                 MS. ULAK:     This is not the dep notice that
18           the City of Philadelphia received.
19                 MR. DELEON:      That's the last one I sent.
20                 MS. ULAK:     When did you send it?
21                 MR. DELEON:      I sent it when I sent to
22           everybody.     I mean, I can pull it up to, if you
23           need me to.
24                 MS. ULAK:     No.      I mean...
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 35 of 84


                                                                      Page 34
  1                 MR. DELEON:     I sent it the same time when
  2          I did it for everybody.
  3                 MS. ULAK:    On November 3rd.
  4                 MR. DELEON:     I don't know if it's
  5          November 3rd.      I have to look it up, if it's an
  6          issue.
  7                 MS. ULAK:    In the deposition notice I
  8          received on November potentially 3rd was
  9          erroneous because it was a copy and paste from
10           PAL.    I never received another one after that.
11           I went off of one that had 17 points on it, not
12           23.
13     BY MR. MCKINLEY:
14           Q.     Lieutenant.
15           A.     Sir.
16           Q.     Are you aware that -- you heard your
17     counsel mention discovery.
18                         You heard the word "discovery"?                She
19     said things were produced in discovery.
20           A.     I have, yes.
21           Q.     Do you know what discovery is?
22           A.     Yes.
23           Q.     Okay.   For the record, please explain your
24     understanding.       Discovery is what?
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 36 of 84


                                                                       Page 35
  1          A.    Understanding the -- gathering information
  2    and facts related to the matter.
  3          Q.    Okay.    And you know that that includes
  4    documents that would have been produced by the City?
  5          A.    At -- through a subpoena, yes.
  6          Q.    Exactly.     Okay.
  7                       Are you aware that the plaintiff in
  8    this case filed a claim against the PAL unit, filed
  9    a claim alleging discrimination?
10           A.    Against the PAL unit or against -- what
11     are you asking?
12           Q.    Are you aware that she filed a claim
13     alleging that she was retaliated against and
14     discriminated?      Are you aware of that?            Evelyn
15     Cintron?    You saw the nature of the complaint?
16           A.    I did, yes.
17           Q.    And you haven't reviewed any documents
18     that she submitted pursuant to that claim?
19           A.    Any documents she submitted?
20           Q.    Yeah.    That she filed.
21           A.    I have not, no.
22           Q.    Okay.    Now --
23                 MR. MCKINLEY:         Counsel, these are
24           documents that I've been told were produced by
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 37 of 84


                                                                       Page 36
  1          the City.
  2                MS. ULAK:     That's correct.           Yes.
  3                MR. MCKINLEY:         Okay.
  4                MS. ULAK:     I think you have accidentally
  5          produced something that's your personal notes.
  6                MR. MCKINLEY:         All right.
  7                MS. ULAK:     Okay.      Yep.
  8    BY MR. MCKINLEY:
  9          Q.    All right.      So I'm going to show you a
10     document, Lieutenant, that we received in discovery
11     from City attorneys.        This is the second page.
12                 MS. ULAK:     I'm just going to take a look
13           at this.
14                 So I'm just going to put on the record,
15           you've handed Lieutenant Righter a document
16           marked City 152 and City 155.             So I would
17           object to the characterization that it's the
18           second page.
19                 MR. MCKINLEY:         I don't disagree with your
20           characterization.
21     BY MR. MCKINLEY:
22           Q.    Lieutenant, take a review of that.
23                        (Exhibit B marked for
24     identification.)
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 38 of 84


                                                                      Page 37
  1                THE WITNESS:      Okay.
  2    BY MR. MCKINLEY:
  3          Q.    Are you familiar with that document or
  4    that form?
  5          A.    I am not.
  6          Q.    Okay.    Have you ever seen anything like
  7    that before?
  8          A.    In what context?
  9          Q.    In the context of your employment.               You've
10     worked in policy.
11           A.    I have never seen this specific, detailed
12     analysis or question and answer in my tenure as a
13     police officer.
14           Q.    Okay.    Have you ever had access to any
15     files that were generated in internal affairs?
16           A.    Yes.
17           Q.    Okay.    And are you aware that there may be
18     an internal affairs filing concerning Ms. Cintron?
19           A.    Yes.
20           Q.    Okay.    And you didn't review it in
21     preparation of this deposition?
22           A.    No.
23           Q.    Okay.    Did you -- you haven't had a chance
24     to review the documents produced by the City in this
Case 2:19-cv-04078-RBS    Document 90-3    Filed 04/07/25   Page 39 of 84


                                                                        Page 38
  1    case?      The discovery documents, you haven't reviewed
  2    them in preparation for the deposition?
  3          A.     No.     So I -- nope.
  4          Q.     Showing you another document.              Mark it C.
  5                         (Exhibit C marked for
  6    identification.)
  7                 MR. MCKINLEY:         Counsel, you saw the
  8          documents?
  9                 MR. DELEON:      What's the Bates number on
10           that, Sharon?
11                  MS. ULAK:     City 156.
12                         (Exhibit C marked for
13     identification.)
14     BY MR. MCKINLEY:
15           Q.     Have you ever seen a form like this
16     before?
17           A.     This specific form I have not seen.
18           Q.     Okay.    But you have reviewed internal
19     affairs files?
20           A.     I have.
21           Q.     And you've never seen this in an internal
22     affairs file?
23           A.     I have no independent recollection of
24     seeing this --
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 40 of 84


                                                                      Page 39
  1          Q.    Not the particular pertaining to
  2    Ms. Cintron, but just this particular form.
  3          A.    Excuse me one second.
  4                        This looks like a form that would be
  5    used by the EEO officer of internal affairs.                 Yes.
  6          Q.    And why would the EEO officer use this
  7    form?
  8          A.    To inform the statement giver that this is
  9    an ongoing investigation being conducted by internal
10     affairs, and they are ordered not to disclose any
11     information discussed.
12           Q.    You say, "EEO."
13                        Do you have an understanding of what
14     that stands for?
15           A.    Equal employment opportunity.
16           Q.    Okay.    So from looking at that form, you
17     would conclude that this then concerns the interview
18     that was given pursuant to an EEO complaint,
19     correct?
20           A.    No.    I -- I'll need to correct that.
21           Q.    Please.
22           A.    So this is regarding an investigation
23     being conducted by internal affairs.               Generally, an
24     EEO is a subset of what may be conducted by internal
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 41 of 84


                                                                      Page 40
  1    affairs.    But there is also a broad range of
  2    investigations.      This looks like an investigation
  3    being conducted by internal affairs, not
  4    specifically EEO.
  5          Q.    So if Ms. Cintron filed a complaint
  6    against a commanding officer, internal affairs would
  7    address that, correct?
  8          A.    They could.
  9          Q.    They could?
10           A.    If she filed a complaint with them, yes.
11           Q.    Okay.    So would that indicate that she's
12     filed a complaint with them?          That form would
13     indicate that, right?
14           A.    No.
15           Q.    Okay.    So what does it indicate to you?
16           A.    That there is an ongoing investigation
17     being conducted by internal affairs.
18           Q.    Mhm.
19           A.    And that the individual who signed this,
20     who appears to be Evelyn Cintron, is being ordered
21     by the commanding officer of internal affairs not to
22     disclose information discussed in this
23     investigation.
24           Q.    All right.      But let me ask you this.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 42 of 84


                                                                      Page 41
  1          A.    Mhm.
  2          Q.    It would be fair to conclude that she at
  3    least gave a statement to internal affairs?
  4          A.    It would be fair to conclude that this
  5    says a statement was concluded.
  6          Q.    And it is correct, it would have been
  7    taken by an EEO officer, correct?
  8          A.    No.
  9          Q.    Okay.    So make me -- I'm confused now.
10                        You said this would be -- you
11     referenced EEO in relation to this.
12           A.    But I corrected myself to say that this is
13     an internal affairs, generally, which could include
14     EEO, but it could include a whole host of things.
15           Q.    Understand.      Okay.
16                        This is Philadelphia Police
17     Department Directive 8.7 concerning employment
18     discrimination, equal opportunity.             I'm handing it.
19                        (Exhibit D marked for
20     identification.)
21                 MR. GOLDEN:      Sharon, can you let me know
22           the Bates range?
23                 MS. ULAK:     It's number City680 through
24           City691.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 43 of 84


                                                                      Page 42
  1                MR. GOLDEN:      Thanks.
  2    BY MR. MCKINLEY:
  3          Q.    Now, Lieutenant Righter, you're familiar
  4    with this directive?
  5          A.    In a general sense, yes.
  6          Q.    Okay.    So let's turn to page 3, the
  7    Definition section.       It starts on page 2, the
  8    definitions.
  9          A.    I see definitions.
10           Q.    Okay.    So you see the page 3 where
11     Retaliation is defined?
12           A.    Letter D, Retaliation.
13           Q.    Okay.
14           A.    I do see that.
15           Q.    And were you familiar with the definition
16     of what retaliation is under this directive, prior
17     to being here today?
18           A.    I have a general sense of retaliation.                 As
19     to what's specifically codified here, I can't say
20     that.
21           Q.    You want to tell me the general sense of
22     what retaliation would be?
23           A.    Sure.    Taking an action in retaliation for
24     or in retribution for a protected action.
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25    Page 44 of 84


                                                                        Page 43
  1          Q.    You said "a protected action"?
  2          A.    Mhm.
  3          Q.    What's a protected action?
  4          A.    I'll strike that.         I didn't mean to say,
  5    "a protected action."
  6                       In response to an action is my
  7    understanding of what retaliation is.
  8          Q.    So if the plaintiff in this case filed a
  9    complaint about a commanding officer and was
10     subsequently disciplined for anything and she
11     thought it was based on retaliation, she would be
12     able to use this directive to bring a complaint,
13     wouldn't that be fair to say?
14           A.    Repeat that.
15                 MS. ULAK:     I'm just going to object to the
16           extent that the question calls for a legal
17           conclusion, but you can answer.
18                 MR. MCKINLEY:         I got you.        I'll rework it.
19     BY MR. MCKINLEY:
20           Q.    If an employee felt that they were being
21     retaliated against for filing a complaint against a
22     commanding officer, this would be the directive that
23     they would utilize to bring the complaint, correct?
24           A.    I don't know that I understand what you're
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 45 of 84


                                                                      Page 44
  1    asking.    I don't know that anyone needs a directive
  2    to bring a complaint.        Qualify what you're asking,
  3    please.
  4          Q.    So a police officer, right, is governed by
  5    these directives?
  6          A.    Correct.
  7          Q.    Okay.    And if they felt that they were the
  8    victim of retaliation in violation of equal
  9    employment laws, there's a process to file that
10     complaint within the department, correct?
11           A.    There is.
12           Q.    Tell me that process.
13           A.    That process, you could file a complaint
14     either directly through internal affairs.                You could
15     file a complaint through your immediate supervisor.
16     You could file a complaint through the City's EEO
17     process, not just the police department.
18           Q.    Sure.
19           A.    You could file a complaint with the human
20     relations commission, or the Federal EEOC.                There's
21     multiple avenues to file a complaint.
22           Q.    Okay.    And if someone files it with
23     internal affairs, would this directive govern that?
24           A.    Again, I'm trying to figure out what
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 46 of 84


                                                                       Page 45
  1    you're asking.
  2                       What do you mean, "Would this govern
  3    that?"?
  4          Q.     Are you aware of any policy manuals
  5    concerning how internal affairs handles EEO
  6    complaints brought to them?           Do you have specific
  7    policy manuals and directives concerning when these
  8    complaints sent for retaliation would be brought to
  9    them?      Do they have their own specific policy
10     manuals concerning that?
11           A.     Internal affairs does has standard
12     operating procedures that govern various types of
13     complaints, and EEO is one of them, yes.
14                  MR. MCKINLEY:        Okay.   And that is a
15           document that can be produced, Counsel?
16                  MS. ULAK:    Yeah.
17     BY MR. MCKINLEY:
18           Q.     If Ms. Cintron, or the plaintiff in this
19     case, filed an EEO complaint with internal affairs,
20     that would be governed by their internal -- not
21     saying exclusively, but they would use their
22     particular policies and procedures that you're aware
23     of to address?      That would, at least, be the process
24     that they would use their manual?
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 47 of 84


                                                                      Page 46
  1          A.    Yes.
  2          Q.    Okay.    So prior to coming here today,
  3    Lieutenant, I -- and I may have asked this, but you
  4    didn't -- were you aware as to whether Ms. Cintron
  5    filed a complaint with internal affairs?               Were you
  6    aware of that?
  7                MS. ULAK:     I'm going to --
  8    BY MR. MCKINLEY:
  9          Q.    Did you know whether she did or not?                   Is
10     what I'm asking.       I'm not saying if it existed.               Did
11     you know whether it existed?
12           A.    Yes.
13           Q.    So you did know she brought an internal
14     affairs complaint?
15           A.    No.    I knew there was internal affairs
16     involvement with Ms. Cintron.           Whether it was a
17     complaint brought by Ms. Cintron or whether it was
18     an unrelated investigation, that, I do not know.
19           Q.    Oh, okay.     I will be clear.
20                        You knew that there was an internal
21     affairs complaint brought by Ms. Cintron?
22           A.    No.
23           Q.    You knew there was an internal affairs
24     filed?
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 48 of 84


                                                                      Page 47
  1          A.    Yes.
  2          Q.    Okay.    And what it was related to, you did
  3    not know?
  4          A.    Correct.
  5          Q.    Is it possible it could have been related
  6    to a complaint she brought in internal affairs?
  7                MS. ULAK:     Objection.       Calls for
  8          speculation.
  9                You can answer, if you know the answer.
10                 THE WITNESS:      Is it possible?         I mean...
11     BY MR. MCKINLEY:
12           Q.    No, no, no.      I'll ask you a better
13     question.     Strike that.
14           A.    Fair enough.
15           Q.    If Ms. Cintron filed an internal affairs
16     complaint, they would have a file?
17           A.    That is correct.
18           Q.    Okay.    And you did not review
19     Ms. Cintron's internal affairs file?
20           A.    No.
21           Q.    Okay.    So is that something that could be
22     produced?     If you wanted to review it, you could
23     actually get it and review it, right?
24           A.    I could.
Case 2:19-cv-04078-RBS    Document 90-3    Filed 04/07/25   Page 49 of 84


                                                                        Page 48
  1                 MR. MCKINLEY:         Okay.    And that's something
  2          you could produce, Counsel?
  3                 MS. ULAK:     The City of Philadelphia has
  4          provided the entirety of an internal affairs
  5          investigation related to Evelyn Cintron.
  6                 MR. MCKINLEY:         Okay.    Fair enough.
  7                 Excuse me.      I'm wrapping up soon.
  8                 MS. ULAK:     Okay.      Very good.
  9    BY MR. MCKINLEY:
10           Q.    You may have answered this, but I want to
11     clarify.
12                         In your preparation for today, you
13     weren't aware there was an EEO complaint filed with
14     internal affairs related the basis of this
15     complaint.        You reviewed the complaint.
16                         Are you saying you weren't aware
17     whether there was an EEO complaint that was filed
18     with the internal?
19                 MS. ULAK:      That was related to the basis
20           of this civil action complaint?
21                 MR. MCKINLEY:          Right.
22                 THE WITNESS:       One more time, please.
23     BY MR. MCKINLEY:
24           Q.    Okay.     You read the complaint.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 50 of 84


                                                                      Page 49
  1          A.    I did.
  2          Q.    Okay.    And if I understand your testimony
  3    correctly, are you saying that you were not aware as
  4    to whether the basis of this complaint, okay,
  5    related to a complaint that Ms. Cintron filed with
  6    internal affairs that there was a relation between
  7    the compliant and any complaint that Ms. Cintron had
  8    filed with internal affairs?
  9          A.    So I think this is where things are
10     getting confused.       So when you say, "complaint,"
11     you're referring to the civil complaint, right?
12           Q.    Right.     You reviewed the civil complaint.
13           A.    Reviewed the civil complaint.
14           Q.    Right.     Now when I go to file with
15     internal affairs, I'm talking about their complaint
16     process which we discussed when we discussed the
17     directive.
18           A.    Right.
19           Q.    So are you aware of whether she had
20     actually filed a complaint with internal affairs
21     that related to the basis of the complaint she
22     now --
23           A.    No.
24           Q.    Okay.    All right.      I'm going to hand you
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 51 of 84


                                                                       Page 50
  1    --
  2                MR. MCKINLEY:         Counsel, you produced
  3          these, right?      One is thicker than the other.
  4                Do you know why that --
  5                MS. ULAK:     I would assume --
  6                MR. MCKINLEY:         I don't -- I want to put
  7          the one that's complete in, but I don't want to
  8          --
  9                MS. ULAK:     I want to be clear that you
10           have not put in the complete internal affairs
11           investigation.      You have handed my client pages
12           and excerpts from the internal affairs
13           investigation --
14                 MR. MCKINLEY:         Okay.    I never said I'm
15           putting in the complete file.             I'm putting in
16           what I'm putting in.
17                 MS. ULAK:     Okay.      And I'm allowed to
18           clarify for the record what you have handed my
19           client.
20                 MR. MCKINLEY:         Right.
21                 MS. ULAK:     There is more pages of the
22           internal affairs investigation than that.
23           That's why this one is thicker.
24                 MR. MCKINLEY:         For the record, I think
Case 2:19-cv-04078-RBS    Document 90-3    Filed 04/07/25   Page 52 of 84


                                                                        Page 51
  1          we're identifying everything that's coming in.
  2          I'm not saying, "This is the complete file."
  3                  MS. ULAK:    Okay.
  4                  MR. MCKINLEY:        I thought we marked
  5          everything, right?
  6                  MS. ULAK:    Well, we'll marking them, yeah.
  7          I don't know that we're explaining what they
  8          are.
  9                  MR. MCKINLEY:        Is anybody contesting these
10           are not contents that came in internal affairs?
11           Is that something being disputed on somebody --
12                  MS. ULAK:     No.     I certainly didn't say
13           that.       I'm just saying that you are handing
14           snippets.
15                  MR. MCKINLEY:         Contents that were
16           contained in an internal affair file.
17                  MR. GOLDEN:      Just for the record, I have
18           not seen what's being shared with the witness,
19           so I reserve all rights as it relates to the
20           admissibility and authenticity of those
21           documents.      He's free to ask whatever questions
22           he wants.
23                  MR. MCKINLEY:         You're counsel for the
24           City?
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 53 of 84


                                                                       Page 52
  1                MR. GOLDEN:      I'm counsel for PAL.
  2                MR. MCKINLEY:         Okay.   Fair enough.
  3                Are you aware of the discovery that was
  4          produced by the City?
  5                MR. GOLDEN:      Yes.
  6                MR. MCKINLEY:         You haven't seen it?
  7                MR. GOLDEN:      I've seen it.          I'm saying you
  8          haven't provide me a copy, so I don't know what
  9          you're showing.       For the record, I don't know
10           what it is.
11                 MR. MCKINLEY:         Prior to you saying
12           something, I actually didn't know who you were.
13                 MR. GOLDEN:      Well, nice to meet you.
14                 MR. MCKINLEY:         Likewise.     I think I'll
15           wrap it up soon.
16     BY MR. MCKINLEY:
17           Q.    I'm going to show you -- let me look at
18     this right quick.
19                        Sir, you have reviewed internal
20     affair files in your capacity as a lieutenant?
21           A.    Yes.    That's correct.
22           Q.    And you have reviewed complaints that were
23     filed by police officers?
24           A.    That is correct.         Yes.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 54 of 84


                                                                      Page 53
  1          Q.    Okay.    All right.      I.
  2                       I'm going to show you -- let's mark
  3    this.
  4                COURT REPORTER:       E.
  5                       (Exhibit E marked for
  6    identification.)
  7    BY MR. MCKINLEY:
  8          Q.    So I'm showing you a document marked as
  9    Plaintiff's Exhibit E here.
10                        My first question is:           Are you
11     familiar with -- not the specific content, but are
12     you familiar with this document in terms of the --
13     seeing something like this before?
14           A.    Yes.    This appears to be a -- yes, I have.
15           Q.    And from looking at that document -- and
16     take your time and look at it.
17                        Can you determine whether Ms. Cintron
18     filed a complaint with internal affairs?
19           A.    Your question one more time.
20           Q.    From reviewing this document -- you've
21     seen anonymous complaints, or you've seen this
22     document, not this particular one pertaining to
23     Ms. Cintron, but you have seen complaints that were
24     filed with internal affairs by police officers?
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 55 of 84


                                                                      Page 54
  1          A.    Correct.
  2          Q.    Would that be a standard document in the
  3    department, what you're holding?
  4          A.    This would be the findings memorandum
  5    issued by internal affairs as a result of an
  6    internal affairs investigation.
  7          Q.    Okay.     And so from reviewing that, who
  8    filed this complaint?        Can you determine who filed
  9    no complaint from reviewing this document?
10           A.    I cannot, no.
11           Q.    Okay.    But -- you cannot, or you don't
12     know how?     I mean, you have reviewed these before?
13     You're a lieutenant.
14           A.    Yes.
15           Q.    And you've written policy.
16                        You can't determine who filed a
17     complaint, pursuant to this?
18           A.    So this was -- it looks like an anonymous
19     letter was received by the office of the police
20     commissioner.      So without seeing the anonymous
21     letter, no.       And even with seeing an anonymous
22     letter, I think that's the quintessential.
23           Q.    All right.      Let's go to Section D,
24     Documents.
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 56 of 84


                                                                       Page 55
  1                       Do you see the documents identified
  2    there?
  3          A.    Mhm.
  4          Q.    Wouldn't it be fair to say that almost
  5    every document reference pertains to Evelyn Cintron?
  6                MS. ULAK:     I would object on the basis of
  7          the question.
  8                But you can answer.
  9                THE WITNESS:      Your question is what?
10     BY MR. MCKINLEY:
11           Q.    So from looking at this document, are you
12     able to determine who this anonymous complaint was
13     made by?    You can't determine that from reviewing
14     that?
15           A.    Who it was made by?          No.
16           Q.    Who is the anonymous complaint from?                    You
17     can't determine which police officer concerns --
18                 MS. ULAK:     Objection.        Asked and answered.
19                 MR. MCKINLEY:         I didn't get it -- I'm
20           asking if he's saying, "no."             If he's saying,
21           "no," we'll move on.
22                 THE WITNESS:      So if I understand your
23           question, you're asking me, am I able -- based
24           on this document you've produced, am I able to
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 57 of 84


                                                                      Page 56
  1          tell who the complaining individual is?
  2    BY MR. MCKINLEY:
  3          Q.    Right.
  4          A.    I cannot.
  5          Q.    Okay.    Fair enough.
  6                        Now, you mentioned in 20 -- prior to
  7    2023, the immediate supervisors or commanding
  8    officers for Ms. Cintron would be, I think you said,
  9    Deputy Police Commissioner Sullivan or Patterson --
10     and Patterson, right?
11           A.    Deputy Sullivan.
12           Q.    Okay.    You said, "Patterson," too.
13           A.    Patterson, at one point, may have been --
14     Deputy Patterson was overtop of Deputy Sullivan.
15     That's where Deputy Patterson comes from.
16           Q.    Sullivan retired?
17           A.    Sullivan retired.
18           Q.    You don't know the year?
19           A.    I do not.
20           Q.    Patterson is still with the police
21     department?
22           A.    He is not.
23           Q.    He retired?
24           A.    He is retired.
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 58 of 84


                                                                      Page 57
  1          Q.    You don't know when they retired?
  2          A.    I don't.
  3          Q.    How do you know they retired?             I'm just
  4    wondering how you know.
  5          A.    Because I work on the police
  6    commissioner's floor, and they're not there.
  7          Q.    I know it seems like a silly question, but
  8    I need to figure out why you can't tell me when they
  9    retired.    Let's figure it out.
10           A.    Sure.
11           Q.    Marc Metellus wrote these procedures as
12     the commanding officer in 2023, correct?
13           A.    Captain Metellus is the commanding
14     officer.    He became the commanding officer in
15     approximately 2023.       And that is when the currently
16     policies and procedures, the SOPs came into
17     existence.
18           Q.    Right.     And those SOPs that he wrote
19     pertains to the police officers that assigned to the
20     PAL unit, he actually has policies and procedures he
21     wrote, correct?
22           A.    I do not know who the actual author is,
23     but they were written under his command.
24           Q.    Under his command?
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 59 of 84


                                                                       Page 58
  1          A.    Yes.
  2          Q.    Fair enough.
  3                       So around 2020, in 2020, Deputy
  4    Police Commissioners Sullivan and Patterson, they
  5    were still employed with the City, correct, in 2020?
  6          A.    I couldn't answer that.            I don't know.
  7          Q.    Okay.    So we got to answer it because the
  8    complaint pertains to things that occurred in 2018
  9    and 2019.     I asked you who were the immediate
10     supervisors over Ms. Cintron.
11           A.    Mhm.
12           Q.    And you say Deputy Police Commissioner
13     Sullivan and Patterson.           But you say they
14     subsequently retired.
15           A.    Correct.
16           Q.    You said they retire.
17           A.    Yeah.
18           Q.    So I'm trying to do a window of -- a
19     window between 2023, Commanding Metellus, you know,
20     when he wrote these policies and procedures was
21     2023, or when it was on his command.                So somewhere
22     between the events in this complaint and Captain
23     Metellus's command, we have Deputy Sullivan and
24     Patterson?
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 60 of 84


                                                                       Page 59
  1          A.    We do.
  2          Q.    So that's a three-year period.
  3                       So would it be fair to say they
  4    retired between, maybe, 2019 and 2023?                Somebody
  5    supervised Ms. Cintron prior to Mr. Metellus taking
  6    this command.
  7          A.    Absolutely.
  8          Q.    And you said Sullivan and Patterson
  9    retired.
10                        You don't know when?
11           A.    I do not know.
12           Q.    Who took over their positions?
13           A.    So -- boy.
14                 MS. ULAK:     I'm going to object on the
15           relevance here.
16                 MR. MCKINLEY:         Well, I want to know -- I'm
17           going to tell you what I want to know.
18                 I want to know what were the policies and
19           practices of the supervising police officers in
20           the PAL unit at the relevant times, and he
21           identified the immediate people that would be
22           responsible for implementing it would be
23           Sullivan and Patterson.          They said he was their
24           direct -- they were overtop of -- that's who
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 61 of 84


                                                                      Page 60
  1          she would report to.        I'm trying to
  2          determine -- they retired.           Okay?     I'm trying
  3          to determine when they retired so I could talk
  4          to the person, get a deposition of
  5          Ms. Cintron's immediate supervisor.
  6                MS. ULAK:     Mr. Sullivan has already been
  7          deposed in this matter.
  8    BY MR. MCKINLEY:
  9          Q.    Okay.    And Patterson, we don't know
10     when --
11           A.    I don't.
12           Q.    Okay.    Who is in this position now?
13           A.    Today?
14           Q.    No.    Who was in this position subsequent
15     to their retirement?        Do you know?       Somebody took
16     their positions when they retired.
17           A.    So Deputy Sullivan was the deputy of
18     patrol.
19           Q.    Right.
20           A.    As we sit here today, the deputy patrol is
21     Deputy Cram.      Deputy Patterson was the first deputy.
22     As we sit here today, the first deputy is Deputy
23     Stanford.
24           Q.    Stanford.
Case 2:19-cv-04078-RBS    Document 90-3   Filed 04/07/25   Page 62 of 84


                                                                       Page 61
  1                        Do you know when he got his position?
  2          A.     Under Police Commissioner Outlaw is when
  3    he assumed that position.
  4          Q.     What year would that be?           I don't know the
  5    year.      You're in the department.         You don't know the
  6    year?
  7          A.     No.    So approximately 2020, perhaps.
  8          Q.     Okay.    So we know following Deputy PCs
  9    Sullivan and Patterson, there's a Stanford there.
10                         Anybody else?
11           A.     Not that I recall.        I'd have to research.
12           Q.     I think I'm about done.           Let me just talk
13     with Mr. DeLeon.
14                         (Recess taken from 10:00 a.m. to
15     10:03 a.m.)
16     BY MR. MCKINLEY:
17           Q.     Sir, Lieutenant, from looking at the
18     documents you were provided, let's go to Exhibit C,
19     you would agree with me that that indicates that
20     Lieutenant Cintron gave a statement?
21                  MS. ULAK:     Objection.       Asked and answered.
22                  You can answer again.
23                  THE WITNESS:      Based on this document,
24           Lieutenant Cintron gave a statement that
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 63 of 84


                                                                      Page 62
  1          concluded at 1:04 and consisted of three pages.
  2    BY MR. MCKINLEY:
  3          Q.    Okay.    Now -- and you were given something
  4    that has been marked as Exhibit B?
  5          A.    Correct.
  6          Q.    And is it signed by Lieutenant Cintron?
  7          A.    There's a signature, Lieutenant Evelyn
  8    Cintron dated 1/25/2018.
  9          Q.    Okay.    And does it indicate by the
10     signature that this would be Lieutenant Cintron's
11     handwriting?
12           A.    I'm not familiar with Lieutenant Cintron's
13     handwriting.
14           Q.    Okay.    All right.      By the signature and
15     given your experience working in the department, did
16     the signature indicate Lieutenant Cintron wrote
17     this, would that suggest that to you from reviewing
18     it?
19           A.    I have no reason to not believe that.
20           Q.    And this would be part of an internal
21     affairs file, correct?        This would be -- if she
22     filed a complaint, this would be part of that
23     complaint, right?
24           A.    This specific document?
Case 2:19-cv-04078-RBS    Document 90-3   Filed 04/07/25   Page 64 of 84


                                                                       Page 63
  1          Q.    Yes.
  2          A.    Say your question one more time.
  3          Q.    Okay.     The internal affairs, we have --
  4    there's been no dispute that there's an internal
  5    affairs file concerning Lieutenant Cintron.
  6          A.    Correct.
  7          Q.    And there's no dispute she gave a
  8    statement.        Well, I think we can see she gave a
  9    statement based on what was marked as Exhibit C.
10           A.    I do believe that there was a statement
11     concluded at 1:04, consisted of three pages, and it
12     was signed, "Evelyn Cintron."
13           Q.    Okay.     Now, can you read the handwriting
14     on what's been marked as Exhibit B?
15           A.    I can.
16           Q.    Okay.     You can read it?
17           A.    I can.
18           Q.    So can you read that into the record for
19     me, please?
20           A.    "Q:     Is there anything else that you would
21     like to add that has not been addressed in this
22     interview?
23                         ANSWER:" in handwriting, "I would
24     like to document that Tedd" -- can't pronounce the
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 65 of 84


                                                                      Page 64
  1    last name, Q-U-A-L-L-I -- "has continued to attempt
  2    to create situations for which he wants to argue
  3    with me and intimidate me.          He was subjecting" -- or
  4    suggesting.       I'm not sure of that word.          "He is"
  5    something "me along with a few members of this staff
  6    to a hostile work environment.           Friday, he came" --
  7    I'm not sure what that word is -- "he came to my
  8    office to yell at me and berate" -- I can't read
  9    that either -- "about PAL-related matters in his
10     attempt to have me removed from the unit.                I feel
11     that the" -- not sure of that word -- "involving
12     Chase," another last name, "and Officer Clayman is
13     [sic] been used as a platform to drive personal
14     agendas."
15           Q.    Okay.    And what was that dated, sir?
16           A.    The date printed is 1/25/18.
17           Q.    Okay.
18                 MS. ULAK:     And just to be clear, I'm
19           letting it speak for itself.            I'm allowing my
20           client read into the record what's been stated,
21           but --
22     BY MR. MCKINLEY:
23           Q.    Now let's go to the second page --
24                 MS. ULAK:     I didn't get to finish my
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 66 of 84


                                                                       Page 65
  1          statement.
  2                All I'm say asking is I'm allowing my
  3          client to read into the record what's been
  4          produced in discovery by the City of
  5          Philadelphia.      My client has no knowledge of
  6          this.
  7                MR. MCKINLEY:         I understand that.
  8    BY MR. MCKINLEY:
  9          Q.    Let's go to the second page, sir.
10           A.    Second page of Exhibit B, yes.
11           Q.    Right.     Now, let's go to -- you see the
12     question here, right here, at the second question
13     from the bottom?
14           A.    That begins with Lieutenant Cintron?
15           Q.    Right.
16           A.    I do.
17           Q.    Okay.    Can you read that?
18           A.    "Q:    Lieutenant Cintron, I am issuing you
19     an EEO form and a copy of Directive 8.8 EEO
20     procedures.
21                        Do you have any questions related to
22     a filing an EEO complaint?
23                        ANSWER:    Not at this time."
24           Q.    So what would that suggest to you, that
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 67 of 84


                                                                      Page 66
  1    language?
  2                MS. ULAK:     Objection.
  3                You can answer.
  4                THE WITNESS:      What are you asking?
  5    BY MR. MCKINLEY:
  6          Q.    Okay.    Based on what you read, would it
  7    indicate to you that Lieutenant Cintron is filing an
  8    EEO complaint?
  9          A.    No.
10           Q.    Okay.    Why wouldn't it?
11           A.    It indicates to me that somebody, whoever
12     "I" is, is issuing Lieutenant Cintron a complaint
13     form and asking Lieutenant Cintron whether she has
14     any questions related to filing an EEO complaint, to
15     which Lieutenant Cintron saying she does not have
16     any questions at this time.
17           Q.    Okay.    Let's go to the top question.
18                        Can you read that for me, please?
19           A.    "QUESTION:      Following your interview on
20     1/23/18, did you inform the assigned investigator,
21     Sergeant Conway, that you would provide
22     documentation related to information you provided
23     during your interview and copies of pictures you
24     took inside PAL headquarters?
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 68 of 84


                                                                      Page 67
  1                        ANSWER:   Yes."
  2          Q.    So you don't know whether, based on your
  3    reeding this, all you know is what it says, that she
  4    was issued -- that someone is issuing an EEO
  5    complaint form and a copy of the directive to
  6    Officer Cintron.       They're going to give her this.
  7                        This is what you agreed with, that
  8    that's what it says?
  9          A.    That they are giving Lieutenant Cintron,
10     yes, that's correct.
11           Q.    And you don't know whether they're giving
12     it to her for her to file a complaint on her own
13     behalf or someone else?
14           A.    I don't know what the purpose of them
15     giving it to her is.
16           Q.    Okay.    But it does --
17           A.    Based on what it says.
18           Q.    You would agree it does involve an EEO
19     complaint, based on what you read?
20           A.    Based on the reference to the EEO
21     complaint, yes.
22           Q.    Okay.    Would this be the type of
23     document -- strike that.
24                        I don't have anything else.
Case 2:19-cv-04078-RBS   Document 90-3    Filed 04/07/25   Page 69 of 84


                                                                       Page 68
  1                MR. MCKINLEY:         Let me take one minute.
  2                       (Recess taken from 10:12 a.m. to
  3    10:14 a.m.)
  4                MR. MCKINLEY:         We're finished.
  5                MS. ULAK:     Do you have any questions?
  6                MR. GOLDEN:      No questions.
  7                MS. ULAK:     I just want to put on the
  8          record.     I want to clarify one thing here.
  9          Exhibit B consisting of two pages, which, I
10           believe, are marked City152 and 155, I want to
11           clarify for the record, that at the bottom of
12           City152, the date is 1/25/18.             The bottom of
13           City155, the date is 2/9/18.             And then at the
14           bottom of what's been marked Exhibit C, the
15           date is 2/9/18.
16                 COURT REPORTER:        Do you guys need copies?
17                 MS. ULAK:     I'll take a copy.
18                 MR. GOLDEN:      I'll take a copy, yes,
19           please.
20                 MR. MCKINLEY:         (Indicating).
21                        (Deposition ended at 10:15 a.m.)
22
23
24
Case 2:19-cv-04078-RBS     Document 90-3   Filed 04/07/25   Page 70 of 84




  1                      C E R T I F I C A T I O N

  2

  3                  I, Gianna Iaconelli, Court Reporter and Notary

  4               Public, certify that the foregoing is a true and

  5               accurate transcript of the foregoing deposition,

  6               that the witness was first sworn by me at the

  7               time, place and on the date herein before set

  8               forth.

  9                  I further certify that I am neither attorney

10                nor counsel for, not related to nor employed by

11                any of the parties to the action in which this

12                deposition was taken; further, that I am not a

13                relative or employee of any attorney or counsel

14                employed in this case, nor am I financially

15                interested in this action.

16                                     __________________________

17                                           Gianna Iaconelli
                                             Court Reporter
18                                           and Notary Public

19

20

21

22

23

24
Case 2:19-cv-04078-RBS   Document 90-3   Filed 04/07/25   Page 71 of 84




                                                Magna
                                                Key Contacts
                     Schedule a Deposition:
            Scheduling@MagnaLS.com | 866-624-6221

                      Order a Transcript:
         CustomerService@MagnaLS.com | 866-624-6221

                   General Billing Inquiries:
             ARTeam@MagnaLS.com | 866-624-6221

                Scheduling Operations Manager:
  Patricia Gondor (E: PGondor@MagnaLS.com | C: 215-221-9566)

                           Customer Care:
    Cari Hartley (E: CHartley@MagnaLS.com | C: 843-814-0841)

                Director of Production Services:
   Ron Hickman (E:RHickman@MagnaLS.com | C: 215-982-0810)

        National Director of Discovery Support Services:
   Carmella Mazza (E: CMazza@MagnaLS.com | C: 856-495-1920)

                        Billing Manager:
  Maria Capetola (E: MCapetola@MagnaLS.com | C: 215-292-9603)

                   Director of Sales Operations:
 Kristina Moukina (E: KMoukina@MagnaLS.com | C: 215-796-5028)
Case 2:19-cv-04078-RBS       Document 90-3       Filed 04/07/25       Page 72 of 84
                                                                                    Page 1

         A              48:4,14 49:6,8,15     6:14 7:15 16:22          44:21
a.m                     49:20 50:10,12,22       57:15 61:7             aware
1:14 33:9,10 61:14      51:10 53:18,24 54:5   Arch                     15:20 17:12 18:1,8
  61:15 68:2,3,21       54:6 62:21 63:3,5     2:6,11                    18:12,17 19:2 20:5
able                  agency                  argue                     20:6,9 21:4 27:23
43:12 55:12,23,24     8:6                     64:2                      28:1 34:16 35:7,12
Absolutely            agendas                 Argumentative             35:14 37:17 45:4,22
59:7                  64:14                   21:9                      46:4,6 48:13,16
access                ago                     asked                     49:3,19 52:3
37:14                 9:3,4 27:6 28:4,5       8:14 32:10 46:3
                      agree                     55:18 58:9 61:21                B
accidentally
36:4                  61:19 67:18             asking                   B
accurate              agreed                  19:21 20:8 26:5,10       3:7,11 36:23 62:4
24:18 69:5            5:1 67:7                  28:10 35:11 44:1,2       63:14 65:10 68:9
action                ahead                     45:1 46:10 55:20,23    background
42:23,24 43:1,3,5,6   10:22 20:22 26:17         65:2 66:4,13           8:8
  48:20 69:11,15        32:19                 assigned                 based
actual                alleging                6:12,19,21 11:22         43:11 55:23 61:23
57:22                 35:9,13                   13:5,19,23 14:6,17       63:9 66:6 67:2,17
add                   allowed                   15:9,18,23 16:1          67:19,20
63:21                 50:17                     17:5,19 18:19,23       basically
addition              allowing                  19:1,23 20:4 22:3      7:19
23:17                 64:19 65:2                22:16,18,19,20,22      basis
address               analysis                  22:24 23:5,8 57:19     48:14,19 49:4,21
24:17 26:19 40:7      37:12                     66:20                    55:6
  45:23               analyst                 assignment               Bates
addressed             8:5                     6:13,14                  38:9 41:22
11:3 63:21            anonymous               assume                   began
adjust                3:14 53:21 54:18,20     50:5                     16:20
26:24                   54:21 55:12,16        assumed                  begins
administers           answer                  61:3                     65:14
11:16                 4:4 19:20 28:9 37:12    Athletic                 behalf
admissibility           43:17 47:9,9 55:8     1:5 2:8 11:17 32:14      67:13
51:20                   58:6,7 61:22 63:23    attempt                  believe
advancement             65:23 66:3 67:1       64:1,10                  25:5 32:12,16 62:19
30:12 31:19           answered                attorney                   63:10 68:10
affair                48:10 55:18 61:21       9:17,18 69:9,13          berate
51:16 52:20           anybody                 attorneys                64:8
affairs               51:9 61:10              36:11                    best
6:20 37:15,18 38:19   APPEARANCES             authenticity             8:6
  38:22 39:5,10,23    2:1                     51:20                    better
  40:1,3,6,17,21 41:3 appears                 author                   47:12
  41:13 44:14,23 45:5 40:20 53:14             57:22                    bit
  45:11,19 46:5,14,15 appropriate             authored                 25:24
  46:21,23 47:6,15,19 23:14                   17:22,23                 Board
                      approximately           avenues                  13:17
Case 2:19-cv-04078-RBS       Document 90-3        Filed 04/07/25       Page 73 of 84
                                                                                   Page 2

bottom                 69:4,9                  41:23                    commission
65:13 68:11,12,14      chain                   City691                  44:20
Box                    27:1                    41:24                    commissioner
2:3                    chance                  civil                    6:22 7:1,6 9:22 11:1
boy                    37:23                   10:3 28:1,2 48:20          25:3,14,19 26:21,24
59:13                  characterization          49:11,12,13              27:3,5,6,10,11
bring                  36:17,20                claim                      54:20 56:9 58:12
20:17 43:12,23 44:2    charge                  29:21 35:8,9,12,18         61:2
broad                  27:9                    claims                   commissioner's
7:10 23:21 40:1        charges                 21:4                     6:12 57:6
brought                13:16                   clarify                  Commissioners
45:6,8 46:13,17,21     chart                   25:23 26:9 32:15         58:4
 47:6                  26:23                     48:11 50:18 68:8,11    Commonwealth
business               Chase                   Clayman                  1:16
8:19 12:2,4            64:12                   64:12                    complaining
                       Cintron                 clear                    56:1
         C             1:3 10:7 21:18,21       14:21 17:14 18:6         complaint
C                        22:15 27:8,24 31:4      26:20 28:11 29:2,14    3:14 9:20 10:3,12,14
3:12 38:4,5,12 61:18     35:15 37:18 39:2        46:19 50:9 64:18         21:2 26:13 27:24
  63:9 68:14 69:1,1      40:5,20 45:18 46:4    client                     28:1,3,8,14,17 29:4
call                     46:16,17,21 47:15     32:12 50:11,19 64:20       35:15 39:18 40:5,10
6:2                      48:5 49:5,7 53:17       65:3,5                   40:12 43:9,12,21,23
called                   53:23 55:5 56:8       code                       44:2,10,13,15,16,19
13:17                    58:10 59:5 61:20,24   15:12,13                   44:21 45:19 46:5,14
calls                    62:6,8,16 63:5,12     codes                      46:17,21 47:6,16
43:16 47:7               65:14,18 66:7,12,13   11:8                       48:13,15,15,17,20
capacity                 66:15 67:6,9          codified                   48:24 49:4,5,7,10
8:15 22:12 52:20       Cintron's               42:19                      49:11,12,13,15,20
captain                27:21 28:20 30:4        come                       49:21 53:18 54:8,9
12:14 57:13 58:22        47:19 60:5 62:10,12   9:21                       54:17 55:12,16 58:8
career                 citizen                 comes                      58:22 62:22,23
30:8                   24:5                    56:15                      65:22 66:8,12,14
carry                  City                    coming                     67:5,12,19,21
22:8                   1:5 2:10,13 11:7,24     9:19 20:19 21:1 46:2     complaints
case                     14:4,7 16:7 32:16       51:1                   45:6,8,13 52:22
8:20 10:5 35:8 38:1      33:14,18 35:4 36:1    command                    53:21,23
  43:8 45:19 69:14       36:11,16,16 37:24     16:15,20 17:3,18         complete
center                   38:11 48:3 51:24        18:2,18 27:1 57:23     50:7,10,15 51:2
22:19                    52:4 58:5 65:4          57:24 58:21,23 59:6    compliant
centers                City's                  commanding               49:7
11:23 14:6,12 26:13    44:16                   7:7,20 8:11,12,16        comprehend
certainly              City152                   12:12,24 13:1,15,22    32:7
6:4 51:12              68:10,12                  14:24 22:12,13,14      concern
certification          City155                   22:16 26:11 40:6,21    24:19
3:12 5:3               68:13                     43:9,22 56:7 57:12     concerning
certify                City680                   57:13,14 58:19         15:17 17:12 18:9
Case 2:19-cv-04078-RBS     Document 90-3        Filed 04/07/25   Page 74 of 84
                                                                              Page 3

  23:10 29:6 37:18   7:17                    currently             deposition
  41:17 45:5,7,10    copies                  6:11 57:15            1:11 3:10 4:2 5:15
  63:5               66:23 68:16                                     6:2 9:15 10:2 14:16
concerns             copy                              D             21:8 28:7 29:18,23
17:18 39:17 55:17    34:9 52:8 65:19 67:5    D                       32:1 33:12,15 34:7
conclude               68:17,18              3:1,13 41:19 42:12      37:21 38:2 60:4
39:17 41:2,4         corporals                 54:23                 68:21 69:5,12
concluded            22:7                    date                  depositions
41:5 62:1 63:11      corporate               1:14 31:18 64:16      8:21
conclusion           14:16                     68:12,13,15 69:7    deputy
43:17                correct                 dated                 9:22 25:3,5,6,14,19
condition            8:17 9:18 10:15         62:8 64:15              27:10,11 56:9,11,14
23:10                  12:10 14:14,17,18     dates                   56:14,15 58:3,12,23
conduct                15:15 17:9 18:3,5     26:14                   60:17,17,20,21,21
5:15 15:12             18:11,13,15 20:1      days                    60:21,22,22 61:8
conducted              21:5 24:3,6,10,12     28:4,5                describe
39:9,23,24 40:3,17     25:17 28:7,15 30:5    decision              6:17 18:24
conflating             30:6,11,13,14,16      27:4,7                describing
25:24                  31:5,6 36:2 39:19     Defendant             19:17 20:2
confused               39:20 40:7 41:6,7     2:8,13                description
41:9 49:10             43:23 44:6,10 47:4    Defendants            3:9 19:9,10,12,17
consisted              47:17 52:21,24 54:1   1:6                     20:1,3,10 21:19
62:1 63:11             57:12,21 58:5,15      Define                  22:2,4
consisting             62:5,21 63:6 67:10    31:13                 descriptions
68:9                 corrected               defined               21:23
contain              41:12                   6:23 42:11            designated
30:17                correctly               definition            9:21 14:15
contained            49:3                    42:7,15               designed
51:16                counsel                 definitions           14:23
content              2:4,8,13 5:2 34:17      42:8,9                designee
53:11                  35:23 38:7 45:15      DeLeon                14:16
contents               48:2 50:2 51:23       2:2 5:14,18,19 15:2   detailed
51:10,15               52:1 69:10,13           33:16,19,21 34:1,4  37:11
contesting           course                    38:9 61:13          determine
51:9                 24:11                   dep                   8:14 16:20 26:15
context              Court                   33:17                   29:8 53:17 54:8,16
37:8,9               1:1,15 33:1 53:4        department              55:12,13,17 60:2,3
continued              68:16 69:3,17         2:10 9:9,12 11:18     different
64:1                 Cram                      12:3,5,7 17:13 22:8 14:4,6 26:7 27:4,7
control              60:21                     27:14 30:9 41:17      31:16 33:15
27:10                create                    44:10,17 54:3 56:21 direct
controlled           64:2                      61:5 62:15          13:22 26:11 59:24
12:7                 criminal                depends               directed
Conway               7:7,14,18 8:20          13:10                 32:13
66:21                current                 deposed               Direction
coordination         6:10 10:17 29:15        60:7                  4:4
Case 2:19-cv-04078-RBS        Document 90-3      Filed 04/07/25       Page 75 of 84
                                                                                  Page 4

directive               documentation         EMILY                    example
3:13 41:17 42:4,16      66:22                 2:11                     13:13
  43:12,22 44:1,23      documents             employed                 Excerpt
  49:17 65:19 67:5      4:8 9:14 10:1 16:17   58:5 69:10,14            3:11
directives               17:11 28:18,19 29:5  employee                 excerpts
11:8 44:5 45:7           32:23 35:4,17,19,24  18:22 43:20 69:13        50:12
directly                 37:24 38:1,8 51:21   employment               exclusively
10:19 25:16 44:14        54:24 55:1 61:18     27:21 28:22,23 30:3      45:21
disagree                doublecheck             30:4,7,21 31:10,13     excuse
36:19                   32:18                   31:18,22 37:9 39:15    20:21 29:11 39:3
disciplinary            draft                   41:17 44:9               48:7
11:8 13:16 15:13        8:5                   ended                    Exhibit
  30:15,16 31:4,15      drafted               68:21                    3:10,11,12,13,14
discipline              20:16                 ensure                     33:2,4,12 36:23
13:4,10,11              drive                 22:7                       38:5,12 41:19 53:5
disciplined             64:13                 entail                     53:9 61:18 62:4
30:21 43:10             duly                  7:16                       63:9,14 65:10 68:9
disclose                5:9                   entirety                   68:14
39:10 40:22             duties                48:4                     exist
discovery               6:18 7:12 8:4 13:2    environment              15:24 16:12,18 17:3
31:8 34:17,18,19,21      15:8 18:22,22,24     64:6                       19:3 21:11 28:22,23
  34:24 36:10 38:1       19:4,5,18,21 20:2    equal                    existed
  52:3 65:4              21:18,19,22 22:2     39:15 41:18 44:8         20:10 28:20 29:9
discriminated           duty                  erroneous                  46:10,11
35:14                   15:4 23:18,22 24:6    34:9                     existence
discrimination                                ESQUIRE                  15:20 18:1 57:17
35:9 41:18                        E           2:2,2,6,10               exists
discussed               E                     establish                15:22 16:10,14 20:7
39:11 40:22 49:16,16    3:1,7,14 53:4,5,9     26:21                      20:9 30:5
dispute                   69:1                estimate                 experience
63:4,7                  easier                17:1                     62:15
disputed                6:5                   Evelyn                   explain
51:11                   EASTERN               1:3 10:7 35:14 40:20     21:12 34:23
distinguishing          1:1                     48:5 55:5 62:7         explaining
8:12                    educational             63:12                  51:7
distributed             8:8                   events                   extent
14:3                    EEO                   21:12 58:22              9:10,13 43:16
DISTRICT                39:5,6,12,18,24 40:4 everybody
1:1,1                     41:7,11,14 44:16    33:22 34:2                         F
document                  45:5,13,19 48:13,17 exactly                  F
17:7,21 18:1,8 36:10      65:19,19,22 66:8,14 12:22 17:22 26:18         69:1
  36:15 37:3 38:4         67:4,18,20            35:6                   facility
  45:15 53:8,12,15,20   EEOC                  EXAMINATION               23:9,11 24:15
  53:22 54:2,9 55:5     44:20                 5:12                     facts
  55:11,24 61:23        either                examined                  35:2
  62:24 63:24 67:23     44:14 64:9            5:9                      fair
Case 2:19-cv-04078-RBS         Document 90-3        Filed 04/07/25       Page 76 of 84
                                                                                     Page 5

   13:7 17:2,6 19:7       64:24                  general                           H
   21:15 23:20 24:4,5    finished                11:10 42:5,18,21         H
   25:15 30:19 41:2,4     68:4                   generally                3:7
   43:13 47:14 48:6      first                   14:22 39:23 41:13        hand
   52:2 55:4 56:5 58:2    5:9 17:24 19:21 28:2   generated                49:24
   59:3                    53:10 60:21,22 69:6   37:15                    handbook
falls                    five                    getting                  19:6
 26:24                    8:2,3 9:3,4            49:10                    handbooks
familiar                 floor                   Gianna                   15:17 18:22
 11:7,11 32:21 37:3       1:13 2:11 57:6         1:15 69:3,17             handed
   42:3,15 53:11,12      following               give                     32:12 36:15 50:11,18
   62:12                  61:8 66:19             11:14 15:4 67:6          handing
Federal                  follows                 given                    41:18 51:13
 44:20                    5:10                   8:21 27:2 39:18 62:3     handle
feel                     foregoing                 62:15                  13:14
 64:10                    69:4,5                 giver                    handles
felt                     form                    39:8                     45:5
 24:5 43:20 44:7          5:5 37:4 38:15,17      giving                   handwriting
figure                     39:2,4,7,16 40:12     67:9,11,15               62:11,13 63:13,23
 44:24 57:8,9              65:19 66:13 67:5      go                       head
file                     forth                   10:22 20:22 26:17        7:10 32:17
 38:22 44:9,13,15,16      69:8                     32:19,23 49:14         headquarters
   44:19,21 47:16,19     found                     54:23 61:18 64:23      12:19 25:9,10 66:24
   49:14 50:15 51:2,16    29:3                     65:9,11 66:17          Healy
   62:21 63:5 67:12      four                    going                    9:22,24
filed                     8:7                    5:14,16 14:19 26:1       heard
 21:2,2 27:24 35:8,8     Francis                   32:11 36:9,12,14       34:16,18
   35:12,20 40:5,10,12    9:22,23                  43:15 46:7 49:24       held
   43:8 45:19 46:5,24    free                      52:17 53:2 59:14,17    1:12
   47:15 48:13,17 49:5    51:21                    67:6                   helpful
   49:8,20 52:23 53:18   Friday                  GOLDEN                   21:6,12
   53:24 54:8,8,16        1:9 64:6               2:6 41:21 42:1 51:17     hire
   62:22                 full                      52:1,5,7,13 68:6,18    30:9 31:18
files                     6:8                    good                     history
 37:15 38:19 44:22       function                6:6,7 48:8               30:4,12 31:22
   52:20                  11:4                   govern                   holding
filing                   functioned              18:18 44:23 45:2,12      54:3
 5:3 13:16 37:18          22:11                  governed                 host
   43:21 65:22 66:7,14   functions               15:11,12 44:4 45:20      41:14
financially               18:24 19:18 20:2       governing                hostile
 69:14                   further                 11:8 29:5                64:6
find                      69:9,12                Greene                   housed
 16:17 19:5,14 28:21                             2:3                      25:7
findings                          G              guys                     human
 54:4                    gathering               68:16                    19:15 44:19
finish                   35:1
Case 2:19-cv-04078-RBS       Document 90-3       Filed 04/07/25    Page 77 of 84
                                                                                Page 6

         I            inside                   54:5 67:4            L
Iaconelli              19:19 66:24            issues                 2:6
 1:15 69:3,17         insubordination          23:10                language
idea                   13:13                  issuing                66:1
 23:3                 interact                 65:18 66:12 67:4     law
identification         11:21                                         2:1,10 8:9
                      interested                         J          laws
 33:5 36:24 38:6,13
  41:20 53:6           69:15                  James                  44:9
identified            internal                 2:2 5:18             League
 55:1 59:21            37:15,18 38:18,21      job                    1:6 2:8 11:17 32:14
identifying             39:5,9,23,24 40:3,6    18:24 19:4,9,10,11   legal
 51:1                   40:17,21 41:3,13        19:17 20:1,3,10      1:12,19 6:20,20
immediate               44:14,23 45:5,11,19     21:19,22 22:1,4        43:16
 24:21 44:15 56:7       45:20 46:5,13,15,20   JOSEPH                let's
  58:9 59:21 60:5       46:23 47:6,15,19       1:6                   26:20 28:11 32:23
implementing            48:4,14,18 49:6,8                              42:6 53:2 54:23
                        49:15,20 50:10,12                K
 59:22                                                                 57:9 61:18 64:23
                        50:22 51:10,16        KAUFMAN                  65:9,11 66:17
include                                        2:11
 24:14 26:22 41:13,14   52:19 53:18,24 54:5                         letter
                        54:6 62:20 63:3,4     KEITH                  42:12 54:19,21,22
includes                                       2:2
 35:3                 interview                                     letting
                       3:11 39:17 63:22       KEVIN                  64:19
incredibly                                     2:6
 16:24                  66:19,23                                    lieutenant
                      intimidate              knew                   5:22,23 6:3,6,9,11
independent                                    20:19 21:1 46:15,20
 38:23                 64:3                                            21:22,23 22:2,5
                      introduce                 46:23                  23:8 24:8,16,20
INDEX                                         know
 4:2                   5:16                                            27:8 28:20 30:21
                      investigation            9:19 10:5,7,13 12:19    34:14 36:10,15,22
indicate                                        13:2,21 14:9,10,11
 40:11,13,15 62:9,16   39:9,22 40:2,16,23                              42:3 46:3 52:20
                        46:18 48:5 50:11,13     14:12 15:9 17:21,23    54:13 61:17,20,24
  66:7                                          19:3 21:18 22:5
indicates               50:22 54:6                                     62:6,7,10,12,16
                      investigations            24:14,22 25:4 26:10    63:5 65:14,18 66:7
 61:19 66:11                                    27:18,19 30:8,20,22
Indicating             40:2                                            66:12,13,15 67:9
                      investigator              34:4,21 35:3 41:21 likelihood
 20:20 68:20                                    43:24 44:1 46:9,11
individual             66:20                                         20:12
                      involve                   46:13,18 47:3,9     likewise
 40:19 56:1                                     50:4 51:7 52:8,9,12 27:6 52:14
individuals            67:18
                      involved                  54:12 56:18 57:1,3 Line
 7:15                                           57:4,7,22 58:6,19
inform                 11:3                                          4:5,9,15,19
                      involvement               59:10,11,16,17,18   little
 23:9 39:8 66:20                                60:9,15 61:1,4,5,8
information            46:16                                         25:23
                      involving                 67:2,3,11,14        locate
 26:9 35:1 39:11                              knowledge
  40:22 66:22          14:16 64:11                                   17:7 29:13
                      issue                    9:11 65:5            located
Inquiry
 13:18                 34:6                              L           7:9
                      issued                                        locations
Case 2:19-cv-04078-RBS     Document 90-3       Filed 04/07/25      Page 78 of 84
                                                                                 Page 7

  14:4               8:9                    Metellus's              38:3
long                 matter                 17:3 58:23              North
 6:13 8:1            10:13 11:2 35:2 60:7   MEYER                   7:10
look                 matters                2:5                     Notary
 34:5 36:12 52:17    64:9                   Mhm                     1:15 69:3,18
  53:16              McKinley               9:5,13 11:15 16:4,11    notes
looking              2:2 3:4 5:14,16,20      16:24 26:12 31:17      36:5
 39:16 53:15 55:11    15:7 16:9 20:21,24     40:18 41:1 43:2        notice
  61:17               21:14 26:5,8,13        55:3 58:11             3:10 14:21 29:18,23
looks                 27:12 29:14,20 30:1   mind                     32:3,7,13 33:12,15
 39:4 40:2 54:18      31:9 32:2,20 33:3     32:17,18                 33:17 34:7
lot                   34:13 35:23 36:3,6    minute                  November
 11:5 14:10           36:8,19,21 37:2       11:14 68:1              1:9 34:3,5,8
                      38:7,14 42:2 43:18    mission                 number
         M            43:19 45:14,17 46:8   22:8                    3:9 38:9 41:23
M                     47:11 48:1,6,9,21     moment
5:18                  48:23 50:2,6,14,20    33:7                             O
Magna                 50:24 51:4,9,15,23    morning              O
1:12,19               52:2,6,11,14,16       6:6,7                69:1
managed               53:7 55:10,19 56:2    move                 O'HAGAN
12:6                  59:16 60:8 61:16      55:21                2:5
manual                62:2 64:22 65:7,8     multiple             object
15:22,24 17:4,11,16   66:5 68:1,4,20        44:21                36:17 43:15 55:6
 18:17 20:13,14,15   mean                                          59:14
 21:7 45:24          11:20 23:23 31:13                N          Objection
manuals               33:16,22,24 43:4      N                    21:9 47:7 55:18
18:21 19:2 45:4,7,10  45:2 47:10 54:12      3:1 69:1               61:21 66:2
Marc                 meet                   name                 objections
12:14,16,20 13:5     52:13                  5:21 6:8 64:1,12     5:4
 14:1,2 16:15,18,19 members                 naming               obtain
 17:3,18 18:2 20:16  64:5                   26:6                 31:3,5
 21:7 29:8 57:11     memorandum             nature               obviously
MARILYN              13:17 54:4             13:10 35:15          23:24
2:1                  mention                need                 occupation
mark                 34:17                  15:2 25:23 33:23     6:10
38:4 53:2            mentioned                39:20 57:8 68:16   occurred
marked               56:6                   needs                21:12 58:8
4:18 33:1,4,12 36:16 met                    7:1 44:1             office
 36:23 38:5,12 41:19 10:9                   neither              6:12,18,19 7:6 12:18
 51:4 53:5,8 62:4    Metellus               69:9                   25:8 54:19 64:8
 63:9,14 68:10,14    12:15,17,20 13:6       never                officer
Market                14:1,2 16:15,18,20    32:17,18 34:10 37:11 7:7,20 8:11,12,16
1:13                  17:18 18:2 20:16        38:21 50:14          12:12,24 13:1,4,15
marking               21:7,16 24:23,23      nice                   13:23 14:17,24
51:6                  25:19 29:8,15 57:11   52:13                  15:14 20:3 22:12,13
master's              57:13 58:19 59:5      nope                   22:14,16,20,21,24
Case 2:19-cv-04078-RBS        Document 90-3      Filed 04/07/25       Page 79 of 84
                                                                                  Page 8

  23:24 24:9 26:11      operating               15:9,18,23 16:1        60:4
  37:13 39:5,6 40:6     45:12                   17:5,13,19 18:9        personal
  40:21 41:7 43:9,22    operation               19:2,19,23 20:4        36:5 64:13
  44:4 55:17 57:12,14   7:17 8:19               21:3 22:3,16,19,21     personnel
  57:14 64:12 67:6      opportunity             22:22,24 23:5,8        22:24
officers                39:15 41:18             26:24 29:6,11 30:22    pertaining
11:9,22,23 13:19,23     Oral                    34:10 35:8,10 52:1     39:1 53:22
  14:5 15:9,17,19,23    1:11                    57:20 59:20 66:24      pertains
  16:1 17:4,19 18:19    order                  PAL-related             55:5 57:19 58:8
  18:23 19:1,18,22,23   24:3                   64:9                    Philadelphia
  20:4 22:17,18 23:18   ordered                PARALEGAL               1:5,5,13 2:3,7,10,12
  52:23 53:24 56:8      39:10 40:20            2:11                      2:13 11:18 12:3,5,7
  57:19 59:19           organizational         part                      17:13 32:17 33:14
offices                 26:23                  62:20,22                  33:18 41:16 48:3
1:12 2:1                Outlaw                 particular                65:5
Oh                      61:2                   11:2 18:16 19:5         pictures
5:18 46:19              outside                 22:17 23:4 24:15       66:23
okay                    29:17,22 31:24          29:11,12 39:1,2        place
5:23 7:21 8:1,21,24     overall                 45:22 53:22            69:7
  9:4,10 10:16,20       8:18,19                parties                 plaintiff
  11:11,14 12:4 13:9    oversaw                5:2 69:11               1:3 2:4 5:19 10:5,7
  14:15 15:6,11,16      7:14,16                parts                     21:2 22:15 35:7
  16:10,16,19 17:8      oversee                19:21                     43:8 45:18
  18:6,21 19:16 20:6    8:6 22:6,6             paste                   Plaintiff's
  20:10,17 22:11,15     overtop                34:9                    53:9
  23:1,13,17 25:18,22   56:14 59:24            patrol                  planning
  26:6,17 27:13,23                             60:18,20                7:17,24
  29:2 30:19 31:3,21             P             pattern                 platform
  32:5,18,23 34:23      P-A-L                  29:20                   64:13
  35:3,6,22 36:3,7      11:12                  Patterson               please
  37:1,6,14,17,20,23    P.O                    25:6,15,20 56:9,10      33:3 34:23 39:21
  38:18 39:16 40:11     2:3                     56:12,13,14,15,20        44:3 48:22 63:19
  40:15 41:9,15 42:6    PA                      58:4,13,24 59:8,23       66:18 68:19
  42:10,13 44:7,22      2:3,7,12                60:9,21 61:9           point
  45:14 46:2,19 47:2    page                   PBI                     12:14 14:19 23:15
  47:18,21 48:1,6,8     3:2,9 4:5,9,15,19      13:17                     56:13
  48:24 49:2,4,24         36:11,18 42:6,7,10   PCs                     points
  50:14,17 51:3 52:2      64:23 65:9,10        61:8                    34:11
  53:1 54:7,11 56:5     pages                  Pennsylvania            police
  56:12 58:7 60:2,9     50:11,21 62:1 63:11    1:1,13,16               1:5 2:8 6:11,22 7:1,5
  60:12 61:8 62:3,9       68:9                 people                    7:10 9:8,12 11:1,9
  62:14 63:3,13,16      PAL                    23:10 25:24 26:7          11:17,18,22,23 12:3
  64:15,17 65:17 66:6   7:2 11:12,23,23 12:1    59:21                    12:5,7 13:17,19,23
  66:10,17 67:16,22       12:8,8,9,10,19,22    period                    14:5 15:8,13 17:13
ongoing                   13:5,20,23 14:3,6    21:13 29:6,12 59:2        17:19 18:19 19:18
39:9 40:16                14:11,11,12,17,24    person                    19:21,23 20:2,4
Case 2:19-cv-04078-RBS        Document 90-3       Filed 04/07/25     Page 80 of 84
                                                                                Page 9

 22:8,18,20,21,23       priorities             pull                  25:12
 23:18,24 24:9,16       26:22                  33:22                 range
 25:3,9,10,14 26:20     procedure              purpose               40:1 41:22
 26:23 27:3,5,6,13      15:22,24 17:4 21:7     67:14                 read
 30:9 32:14 37:13       procedures             pursuant              10:11,13 11:5,5
 41:16 44:4,17 52:23    14:23 15:17 17:10,16   35:18 39:18 54:17       48:24 63:13,16,18
 53:24 54:19 55:17       18:9,16 19:3 20:16    put                     64:8,20 65:3,17
 56:9,20 57:5,19         21:11 22:10 29:10     14:20 32:11 33:11       66:6,18 67:19
 58:4,12 59:19 61:2      45:12,22 57:11,16      36:14 50:6,10 68:7   reading
policies                 57:20 58:20 65:20     puts                  5:3
11:7 14:23 15:16        process                11:23                 reason
 18:9,16 19:3 20:16     6:21 13:16 44:9,12     putting               62:19
 21:10 29:7,9,10         44:13,17 45:23        50:15,15,16           reasonable
 45:22 57:16,20          49:16                                       23:9
 58:20 59:18            produce                          Q           recall
policy                  16:5,6,7 29:19,24      Q-U-A-L-L-I           61:11
8:5,6,7,10 10:18 11:2    31:5 32:10,24 48:2    64:1                  received
 11:2,5 15:22,24        produced               qualify               33:18 34:8,10 36:10
 17:4,10,16 21:7        29:16 31:8 33:14       10:23 44:2              54:19
 29:15,20 37:10 45:4     34:19 35:4,24 36:5    quantify              Recess
 45:7,9 54:15            37:24 45:15 47:22     11:13                 33:9 61:14 68:2
position                 50:2 52:4 55:24       quarters              recollection
7:13 10:17 25:2          65:4                  7:10                  38:23
 60:12,14 61:1,3        producing              question              record
positions               14:22                  4:18 5:5 18:17 19:11 5:17 6:8 14:20 25:23
59:12 60:16             Production               19:16,20 26:2 28:24   29:15 30:16,16 31:4
possible                4:8                      37:12 43:16 47:13     32:12,15 33:11
47:5,10                 program                  53:10,19 55:7,9,23    34:23 36:14 50:18
potentially             7:2 11:12,12 17:14       57:7 63:2 65:12,12    50:24 51:17 52:9
34:8                    project                  66:17,19              63:18 64:20 65:3
practice                6:24 7:2 11:1          questions               68:8,11
29:21                   projects               20:23 51:21 65:21     records
practices               6:21                     66:14,16 68:5,6     7:8,14,18 8:20 27:21
8:6 59:19               pronounce              quick                   28:22,23 30:3,7,18
preparation             63:24                  52:18                   31:7,10,14,15,18,21
9:15 10:2 28:7,19       protect                quintessential        reeding
 37:21 38:2 48:12       24:1,6                 54:22                 67:3
pretty                  protected              quite                 reference
19:4                    42:24 43:1,3,5         9:1                   55:5 67:20
printed                 provide                                      referenced
64:16                   52:8 66:21                       R           41:11
prior                   provided               R                     referred
7:5,21 16:12,18 17:2    48:4 61:18 66:22       69:1                  17:17 27:1
 17:8 18:10 25:19       public                 R-I-G-H-T-E-R         referring
 26:14 42:16 46:2       1:15 8:9 23:19,22      6:1,9                 13:12 20:15 29:7
 52:11 56:6 59:5         24:15 69:4,18         Race                    49:11
Case 2:19-cv-04078-RBS        Document 90-3        Filed 04/07/25       Page 81 of 84
                                                                                  Page 10

regarding               24:1                    9:20 10:3 15:21          saying
18:22 21:1 39:22        research                  27:20 28:6,13 31:12    10:12 20:6 45:21
regulations             7:23 8:6 61:11            32:3 35:17 38:1,18       46:10 48:16 49:3
22:9                    reserve                   48:15 49:12,13           51:2,13 52:7,11
related                 51:19                     52:19,22 54:12           55:20,20 66:15
35:2 47:2,5 48:5,14     reserved                reviewing                says
  48:19 49:5,21 65:21   5:5                     53:20 54:7,9 55:13       41:5 67:3,8,17
  66:14,22 69:10        reserves                  62:17                  scope
relates                 26:21                   rework                   29:17,22 32:1
51:19                   resources               43:18                    se
relation                19:15                   right                    7:3,4
41:11 49:6              respective              16:14,14 17:8,19         sealing
relations               5:2                       21:24 26:21 27:24      5:3
44:20                   respond                   28:12 30:9,17 36:6     search
relationship            6:20                      36:9 40:13,24 44:4     28:19
11:17,19 17:12          response                  47:23 48:21 49:11      searched
relative                43:6                      49:12,14,18,24 50:3    29:3,5,8
69:13                   responsibilities          50:20 51:5 52:18       second
relevance               8:18 19:1 23:4            53:1 54:23 56:3,10     36:11,18 39:3 64:23
59:15                   responsible               57:18 60:19 62:14        65:9,10,12
relevant                8:18 12:11 22:17          62:23 65:11,12,15      section
29:10,21 59:20            25:16 59:22           Righter                  42:7 54:23
removed                 result                  1:11 3:2 5:8,22 6:1,9    see
64:10                   54:5                      36:15 42:3             26:10 30:24 42:9,10
repeat                  retaliated              rights                     42:14 55:1 63:8
23:1 43:14              35:13 43:21             51:19                      65:11
report                  retaliation             RIGMAIDEN-DE...          seeing
60:1                    42:11,12,16,18,22,23    2:1                      38:24 53:13 54:20,21
reported                  43:7,11 44:8 45:8     risk                     seek
25:2 27:9               retire                  23:14                    30:24 31:21
Reporter                58:16                   role                     seen
1:15 33:1 53:4 68:16    retired                 24:7                     15:16,21 18:14 37:6
  69:3,17               27:16,17 56:16,17,23    rough                      37:11 38:15,17,21
reporting                 56:24 57:1,3,9        16:24                      51:18 52:6,7 53:21
25:13                     58:14 59:4,9 60:2,3   routine                    53:21,23
repository                60:16                 11:4                     send
29:10                   retirement              rules                    33:20
representative          60:15                   22:9                     sense
9:8                     retribution                                      11:10 42:5,18,21
representing            42:24                            S               sent
5:19 9:11               review                  S                        33:19,21,21 34:1
request                 9:14 10:1 28:2,16,18    3:7                        45:8
4:8 13:15                 28:24,24 31:21 33:7   safety                   separate
requested                 36:22 37:20,24        23:14                    30:18 31:11
14:24 32:24               47:18,22,23           saw                      sergeant
required                reviewed                35:15 38:7               7:23 66:21
Case 2:19-cv-04078-RBS      Document 90-3       Filed 04/07/25      Page 82 of 84
                                                                               Page 11

sergeants             sorry                  5:1                     supervising
22:6,7                5:18 10:22             Stipulations            23:17 25:16 59:19
serve                 speak                  4:14                    supervision
24:1,6                9:14 14:22 16:1        Street                  17:18 18:18
Services                64:19                1:13 2:3,6,11 7:11      supervisor
1:12,19               special                  25:12                 7:19 8:13,15 9:19
set                   6:21,23 7:2 10:24      strike                    13:22 22:13 24:21
69:7                    11:1                 17:15 43:4 47:13          26:4 44:15 60:5
shared                specific                 67:23                 supervisors
51:18                 15:3,5,12 17:4 37:11   structure               22:7 25:18 56:7
Sharon                  38:17 45:6,9 53:11   26:15                     58:10
2:10 38:10 41:21        62:24                subjecting              supervisory
show                  specifically           64:3                    8:17 22:11 26:15
30:7,12,15,17 36:9    15:18 16:13 22:2       submitted               SUPPORT
  52:17 53:2            24:7 40:4 42:19      35:18,19                4:2
showing               speculation            subordinate             sure
38:4 52:9 53:8        47:8                   22:6                    19:4 24:2 28:9 31:20
sic                   spoke                  subpoena                  42:23 44:18 57:10
64:13                 9:18                   35:5                      64:4,7,11
signature             staff                  subpoenas               sworn
62:7,10,14,16         7:14 8:7 11:3 64:5     6:20                    5:9 69:6
signed                standard               subsequent
40:19 62:6 63:12      45:11 54:2             60:14                              T
signing               standing               subsequently            T
5:3                   24:3                   43:10 58:14              3:7 69:1,1
silly                 stands                 subset                  take
57:7                  39:14                  22:14 39:24              24:19,20 33:6 36:12
sir                   Stanford               suggest                   36:22 53:16 68:1,17
5:21 32:21 34:15      60:23,24 61:9          62:17 65:24               68:18
  52:19 61:17 64:15   start                  suggesting              taken
  65:9                30:8                   64:4                     33:9 41:7 61:14 68:2
sit                   starts                 Suite                     69:12
60:20,22              42:7                   2:6                     talk
situations            state                  Sullivan                 21:16 31:19 60:3
64:2                  6:8                    1:6 25:5,15,20 27:11      61:12
snippets              stated                   56:9,11,14,16,17      talked
51:14                 64:20                    58:4,13,23 59:8,23     12:20
somebody              statement                60:6,17 61:9          talking
14:22 51:11 59:4      23:21 39:8 41:3,5      superior                 49:15
  60:15 66:11           61:20,24 63:8,9,10   22:21,23                Tedd
soon                    65:1                 superiors                63:24
48:7 52:15            STATES                 23:15                   tell
SOP                   1:1                    supervise                42:21 44:12 56:1
20:12,14              stationed              22:20                     57:8 59:17
SOPs                  25:8                   supervised              ten
57:16,18              stipulated             12:6 59:5                27:6
Case 2:19-cv-04078-RBS         Document 90-3      Filed 04/07/25      Page 83 of 84
                                                                                Page 12

tenure                     21:11 27:5 29:7    understand                        W
 28:20 37:12               42:17 46:2 48:12   14:5 21:22 41:15         waived
terms                      60:13,20,22          43:24 49:2 55:22       5:4
 11:8 53:12              told                   65:7                   want
testified                 35:24               understanding            18:6 32:15 33:1,11
 5:9                     top                  9:6 21:21 22:1 26:3       42:21 48:10 50:6,7
testimony                 66:17                 27:9,17 32:5,9          50:9 59:16,17,18
 3:2 49:2                trajectory             34:24 35:1 39:13        68:7,8,10
Thank                     30:8                  43:7                   wanted
 33:8                    transcript           unique                   32:6 47:22
Thanks                    69:5                20:4                     wants
 42:1                    trial                unit                     11:2 51:22 64:2
thicker                   5:6                 7:8,14,18,24 8:19,20     wasn't
 50:3,23                 true                   12:1,2,4,8,9,10,11     24:23
thing                     69:4                  12:23 13:5,20,24       we'll
 8:13 28:6 29:3 31:11    trying                 14:11,17 15:1,9,23     51:6 55:21
  68:8                    8:14 26:14 44:24      16:2 17:5,20 18:10     we're
things                     58:18 60:1,2         18:19,23 19:2,19,24    20:15 25:24 51:1,7
 14:10 34:19 41:14       turn                   20:5 21:3 22:3,16       68:4
  49:9 58:8               42:6                  22:18,21,22,24 23:5    went
think                    two                    29:6,11 30:22 35:8     34:11
 21:6,10 24:18 25:22      6:15,16 19:20 28:4,5  35:10 57:20 59:20      weren't
  25:24 26:1 29:21         30:18 68:9           64:10                  48:13,16
  36:4 49:9 50:24        type                 UNITED                   William
  52:14 54:22 56:8        15:4 67:22          1:1                      1:11 3:2 5:8,22,24
  61:12 63:8             types                units                     6:9
thought                   45:12               14:3 15:18               window
 23:13 24:14 28:13                            unrelated                58:18,19
  43:11 51:4                      U           46:18                    witness
three                    ULAK                 unsafe                   4:4 21:10 26:18 37:1
 26:6 62:1 63:11         2:10 14:19 15:6 16:7 24:15                     47:10 48:22 51:18
three-year                20:20,22 21:9 25:22 use                       55:9,22 61:23 66:4
 59:2                     26:6,12,17 29:17,22 39:6 43:12 45:21,24       69:6
time                      31:7,24 32:11 33:6 utilize                   wondering
 5:6 9:1,2 17:24 21:13    33:11,17,20,24 34:3 43:23                    57:4
  24:24 25:2,10 26:16     34:7 36:2,4,7,12                             word
  27:2,3,8 29:12 34:1     38:11 41:23 43:15             V
                                                                       34:18 64:4,7,11
  48:22 53:16,19 63:2     45:16 46:7 47:7     v                        work
  65:23 66:16 69:7        48:3,8,19 50:5,9,17 1:4                      7:6,22 8:1 57:5 64:6
times                     50:21 51:3,6,12     various                  worked
 59:20                    55:6,18 59:14 60:6  6:21 45:12               37:10
title                     61:21 64:18,24 66:2 victim                   working
 12:22                    68:5,7,17           44:8                     26:8 62:15
today                    unable               violation                wouldn't
 9:7,11,21 16:1,3,10     16:17 17:6 28:21     44:8                     23:20 24:16 43:13
  16:13,13 20:17          29:13
Case 2:19-cv-04078-RBS       Document 90-3      Filed 04/07/25       Page 84 of 84
                                                                                 Page 13

 55:4 66:10            66:20                 2:7                      3:12
wrap                   1/25/18               19119                    3910
52:15                  64:16 68:12           2:3                      2:6
wrapping               1/25/2018                                      3rd
48:7                   62:8                            2              34:3,5,8
write                  1:04                  2
10:18                  62:1 63:11            42:7                                4
writers                10:00                 2/9/18                   400
8:7                    61:14                 68:13,15                 7:10
written                10:03                 20                       41
17:11,17 19:5,12,17    61:15                 56:6                     3:13
 29:8 54:15 57:23      10:12                 2018                     45
wrote                  68:2                  58:8                     4:12
57:11,18,21 58:20      10:14                 2019
                                             58:9 59:4                           5
 62:16                 68:3
www.MagnaLS.com        10:15                 2020                     5
1:20                   68:21                 18:10 58:3,3,5 61:7      3:4 4:10,16
                       14                    2023                     53
          X            4:11,12               16:22 17:3,8,17,22       3:14
X                      15                      17:23 18:4 26:11       5414
3:1,7                  1:9                     56:7 57:12,15 58:19    2:3
                       1515                    58:21 59:4
          Y                                  2024                                6
                       2:11
yeah                   152                   1:9                                 7
6:19 10:23 16:7,14     36:16                 215.356.7425
  26:18 35:20 45:16                                                   750
                       155                   2:4
  51:6 58:17                                                          25:12
                       36:16 68:10           215.461.3300
year                   156                   2:7                               8
8:3 27:18 56:18 61:4   38:11                 215.683.5000             8.7
  61:5,6               16                    2:12                     3:13 41:17
years                  4:10                  23                       8.8
6:15,16 8:2 9:3,4      1635                  16:23 34:12              65:19
  27:6                 1:12                  29                       8:50
yell                   17                    4:11                     1:14
64:8                   34:11
                                                      3               80
Yep                    1717                                           7:15
36:7                   2:6                   3
                                                                      866-624-6221
                       17th                  42:6,10
          Z                                                           1:19
                       2:11                  30(b)(6)
                                                                      8th
                       18853                 14:20 29:18,23 32:1
          0                                                           1:13
                       2:3                     32:3,13
          1            19-4078               33                                  9
                       1:6                   3:10                     9:19
1
                       19102                 36                       33:9
4:16
                       1:14 2:12             3:11                     9:22
1/23/18
                       19103                 38                       33:9
